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 1   Leib M. Lerner (CA State Bar No. 227323)
     Douglas J. Harris (CA State Bar No. 322946)
 2   ALSTON & BIRD LLP
     333 S. Hope Street, 16th Floor
 3   Los Angeles, CA 90071
 4   Telephone: (213) 576-1000
     Facsimile: (213) 576-1100
 5   Email: leib.lerner@alston.com
     Email: douglas.harris@alston.com
 6
 7   Attorneys for Debtor
 8
 9                            UNITED STATES BANKRUPTCY COURT

10                             CENTRAL DISTRICT OF CALIFORNIA

11                              SAN FERNANDO VALLEY DIVISION

12
13   In re:                                            Case No. 1:22-bk-10444-VK
14               Schrillo Company, LLC,                Chapter 11 (Subchapter V)
15                          Debtor.                    DEBTOR’S MOTION TO SELL
                                                       SUBSTANTIALLY ALL OF ITS
16                                                     TANGIBLE PERSONAL PROPERTY
17                                                     FREE AND CLEAR OF LIENS, CLAIMS
                                                       AND INTERESTS; DECLARATIONS OF
18                                                     BRIAN D. KING AND MICHAEL FLYNN
                                                       IN SUPPORT THEREOF
19
                                                       Hearing
20                                                     Date: July 7, 2022
                                                       Time: 2:00 p.m.
21                                                     Place: ZoomGov
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 1          Schrillo Company, LLC, the debtor and debtor-in-possession in the above-captioned case (the

 2   “Debtor”), hereby files this motion (the “Motion”) pursuant to sections 105(a) and 363 of Title 11 of

 3   the United States Code (the “Bankruptcy Code”) and Rules 2002, 6004 and 9014 of the Federal Rules

 4   of Bankruptcy Procedure (the “Bankruptcy Rules”), in accordance with that certain Order Approving

 5   Debtor’s Motion to Approve Sale Procedures for the Auction of Substantially All of its Assets Free

 6   and Clear of Liens, Claims and Interest [Doc. 53] (the “Sale Procedures Order”), to sell substantially

 7   all of its tangible personal property free and clear of all liens, claims, encumbrances and interests,

 8   under Section 363 of the Bankruptcy Code and with the good faith protections of Section 363(m) of

 9   the Bankruptcy Code, pursuant to a definitive and binding asset purchase agreement approved by this

10   Bankruptcy Court and to sell any and all Excluded Assets under similar customary and reasonable

11   terms.1 In support of the Motion, the Debtor respectfully represents as follows:

12                                       GENERAL BACKGROUND

13          1.      The Debtor filed a voluntary Subchapter V, Chapter 11 case in the United States

14   Bankruptcy Court for the Central District of California on April 13, 2022 (the “Petition Date”). The

15   case is assigned to the Honorable Victoria S. Kaufman, and bears case number 1:22-bk-10444-VK.

16   John-Patrick McGinnis Fritz has been appointed as Subchapter V Trustee, and the Debtor remains a

17   debtor-in-possession. See Declaration of Brian King (“King Decl.”), ¶ 3.

18          A.      The Debtor’s Business and Reasons for Seeking Chapter 11 Relief

19          2.      The Debtor specializes in precision manufacturing equipment targeting the commercial
20   aviation, military, and space industries. The Debtor’s principal office is located in North Hills,

21   California. As of the Petition Date, the Debtor had 36 regular, full time employees, and currently has

22   33 employees. The Debtor elected to seek protection in Chapter 11 in order to pursue a prompt and

23   efficient reorganization and sell substantially all of its assets as a going concern (“Sale”) and, upon a

24   successful Sale, pay its creditors in full. Id. at ¶ 4. The Debtor has been trying to sell its business for

25   almost ten years, and over that time period has had a number of potential suitors. Id. at ¶ 5. Over the

26
27   1
      Capitalized terms that are not defined herein shall have the meanings ascribed to them in that certain
     Asset Purchase Agreement, which is attached as Exhibit A to this Motion. “Purchaser” means the
28   Purchaser defined in the APA or the buyer identified in the successful bid in the event of an Auction,
     as applicable.
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 1   past few years, the Debtor’s expenses have exceeded its income, and its parent Schrillo Realty, Inc.

 2   has kept the Debtor afloat through a combination of capital infusions and loans. Id. This past March,

 3   a potential buyer pulled out at the last minute before signing the transaction papers, after going through

 4   over a year of negotiation and due diligence. Id. at ¶ 6. The Debtor pivoted to the bankruptcy process

 5   in order to find a buyer and consummate a sale quickly. Id. By filing, Debtor’s management believed

 6   that the value of the company, if sold quickly, would exceed all claims and leave equity in the money.

 7   The Debtor believes that the sale contemplated by this Motion will fulfill that goal. Id. at ¶ 7. In

 8   addition, the Debtor is cognizant of and concerned for its 33 employees, and is continuing to market

 9   all of its assets for sale, including to a number of parties that expressed interest in purchasing the

10   Debtor’s assets as a going concern, but whose offers to date fell short in providing the overall benefit

11   to the Debtor’s estate that the current proposed liquidator sale will accomplish. Id.

12          B.      Facts in Support of Relief Requested

13          3.      The Debtor worked with Riveron RTS, LLC (“RTS”), its financial advisor retained to

14   market and sell the Debtor’s assets, since the Petition Date. RTS’s employment was approved by the

15   Court on June 6, 2022. Id. at ¶ 8; Docs. 32 & 90.

16          4.      RTS actively reached out to industry participants and potential investors likely to be

17   interested in buying the Debtor’s assets. Additionally, the Debtor and its professionals were contacted

18   by other potential investors that expressed an interest in potentially purchasing the Debtor’s assets,

19   and RTS followed up with each of those contacts. See Declaration of Michael Flynn (“Flynn Decl.”),
20   ¶ 3. RTS spoke with or had correspondence with approximately 86 interested parties, received

21   approximately 30 executed Non-Disclosure Agreements (“NDA”), and prompted six letters of intent

22   or similar form of written offer, which were under management consideration for stalking horse

23   position. RTS and Debtor management had offsite conferences with 23 potential buyers, onsite

24   meetings and on-site tours with 13 potential buyers, and additional meetings are scheduled for after

25   this filing. Debtor has also set up a data room, and every party that has executed an NDA has been

26   provided access. Id. at ¶ 4.

27          5.      After extensive negotiations with multiple credible parties seeking to become the

28   stalking horse bidder, including almost reaching agreement with two separate parties that intended to

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 1   buy the Debtor’s assets as a going concern, Machinery Network Auctions, Inc. (“MNA”) and

 2   Machinery Marketing International (“MMI”, and together with MNA “Purchaser” or “Stalking

 3   Horse Bidder”) emerged as the best party prepared to timely finalize a fair asset purchase agreement

 4   that would maximize the value of the Debtor’s estate, and was selected as the Stalking Horse Bidder.

 5   The APA provides for a Purchase Price of $1,355,000 for substantially all of the Debtor’s tangible

 6   personal property, provides for the consignment sale of Debtor’s inventory by the Purchaser with

 7   100% of the sales price less Buyer’s Premium going to the Debtor, and provides that the Debtor retains

 8   all of its accounts receivable for the Estate’s benefit, which current balance is approximately $1 million

 9   and has historically been collected at a 100% rate. This deal has the highest probability of leading to

10   a plan that will pay all creditors in full. No other potential bidder has come close to Stalking Horse

11   Bidder’s offer in terms of the benefits being offered to the Debtor and the Debtor’s Estate if the Sale

12   is approved, and the simplicity of the deal closing. The Debtor believes that selling the Assets to the

13   Stalking Horse Bidder under the terms and conditions of the proposed sale, including the price and all

14   contingencies, is in the best interest of the Debtor’s estate. The competitive sale process indicates that

15   Debtor is getting the highest bid for the Assets and that the value of the assets is at least the Purchase

16   Price. Id. at ¶ 5; King Decl., ¶ 9.

17          6.      The Debtor’s landlord, Schrillo Realty, Inc., for the premises at 16750 Schoenborn St.,

18   North Hills, CA 91343 (“Premises”) has worked diligently with the Debtor and interested parties in

19   order to consummate a sale of the Debtor’s assets. The landlord is accommodating the Stalking Horse
20   Bidder in consenting to Debtor’s agreeing to Purchasers having 90 days from the Closing Date to

21   remove the assets from the premises. The landlord has also made numerous concessions to other

22   potential bidders in efforts to encourage both liquidation and going concern sales. The landlord

23   remains ready, willing and able to work with any going-concern bidder that wishes to incorporate or

24   conjoin a lease of the Premises with its Qualified Bid. King Decl., ¶ 10.

25          7.      The Stalking Horse Bidder executed the Asset Purchase Agreement (the “APA”) in a

26   form acceptable to the Debtor, which is attached as Exhibit A to this Motion. King Decl., ¶ 11.

27          8.      The Debtor intends to continue discussions with multiple potential buyers concerning

28   their interest in acquiring the subject assets before the Sale Hearing and Auction scheduled for July 7,

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 1   2022. There are multiple potential “going concern” and “liquidation” interested parties that are in

 2   discussions with RTS about becoming “Qualified Bidders” for the Auction. Flynn Decl., ¶ 6; King

 3   Decl., ¶ 12.

 4           C.      Summary of the Principal Terms of the APA2

 5           9.      The principal terms of the APA are:

 6   APA, ¶ 2, quoted in its entirety:

 7           Asset Acquisition and Assignment. Subject to the terms contained herein, the Debtor agrees to sell,

 8   convey, assign and hypothecate on an AS IS, WHERE IS CONDITION AND WITH ALL FAULTS basis,

 9   without any representations or warranties, except as expressly set forth herein, and free and clear of any and

10   all liens, claims, interests, and encumbrances to the fullest extent permitted under section 363(f) of the

11   Bankruptcy Code, to the Purchasers for the consideration provided herein, any and all of the right, title and

12   interest the Debtor and the Debtor’s Estate has in the Assets, in accordance with, and with all protections

13   afforded by, sections 363 and 365 of the Bankruptcy Code, except for the Excluded Assets and Interests

14   (defined infra), as follows:

15           a. Industrial equipment and office equipment identified on Schedule A hereto (the

16                “Equipment”) and shall include all associated manuals and tooling, rolling stock, racking

17                and rolling cabinets, steel tables, tool room equipment, supplies and all other and various

18                support equipment not specifically listed to whatever extent they are the tangible personal

19                property of Debtor and in the possession of Debtor.
20   APA, ¶ 3, quoted in its entirety:

21           a. Excluded Assets and Interests. Notwithstanding anything stated in this Agreement, the

22                following property, assets, possessions, rights and interests are expressly excluded from

23                the Assets (the “Excluded Assets and Interests”), all of which will be retained by Seller:

24           b. Customer tooling or fixtures (to the extent any remain onsite; which includes 1 whirling

25                head, 1 tail stock, and 6 holders that are marked as customer owned property), employee

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27
     2
       The partial summary of the APA contained in this Motion is for the convenience of the reader and
28   is not intended to change, affect, or make ambiguous any terms or conditions of the APA, which
     APA terms and conditions are controlling in the event of any ambiguity, inconsistency, or conflict.
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 1                 personal items, fixtures, and mechanicals attendant to the building, all raw materials, works

 2                 in progress (WIP) and finished parts, both of which Buyers shall offer for sale on behalf of

 3                 Debtor on a commission only basis, as more fully described herein.

 4          c. Intellectual property (including associated good will of the Debtor’s business) (the

 5                 “Intellectual Property”), except for certain of Debtor’s intellectual property that shall be

 6                 licensed to Purchasers on a limited basis as set forth in Paragraph 8.

 7          d. Executory contracts and unexpired leases (the “Executory Contracts”).

 8          e. Accounts receivable (the “Accounts Receivable”).

 9          f. The Debtor’s books and records, including customer lists (which, for clarification purposes

10                 only, does not include any consumer records) (the “Books and Records”).

11          g. The following leased equipment and vehicle: the Xerox WorkCentre 5335; Pitney Bowes

12                 DM125 Postage Meter; Newco Enterprises, Inc. FC-3 Coffee Brewer; Keurig K-2500

13                 Coffee Maker; and Cadillac XT5.

14          h. Customer drawings and engineering files.

15          i. Any non-Debtor owned intellectual property in the possession of the Seller, including but

16                 not limited to, trademarks, service marks, marks, patents, copyrights, trade secrets,

17                 processes, and designs.

18          j. Any cash-on-hand.

19   APA, ¶ 5, in pertinent part:
20          Consideration. As consideration for the sale, conveyance, assignment and/or hypothecation of the

21   Assets by the Seller to the Purchasers, the Purchasers shall pay the sum of ONE MILLION THREE

22   HUNDRED FIFTY-FIVE THOUSAND DOLLARS and zero cents ($1,355,000.00) (the “Purchase Price”)

23   as follows:

24                    Deposit. On or before June 16, 2022, the Purchasers shall pay the sum

25                    of 10% (the “Deposit”) of the Purchase Price via wire transfer to counsel

26                    for the Debtor, Alston & Bird LLP California IOLTA Trust Account

27                    (“A&B Trust”), for the benefit of Debtor:

28                    ***

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 1           Payment shall be deemed made upon receipt. In the event this Agreement is terminated in

 2   accordance with Paragraph 10, infra, or the Purchasers are not the ultimate purchasers of the Assets, the

 3   Purchasers shall be entitled to the return of the Deposit. The Debtor shall return the Deposit no later than

 4   five (5) business days after the termination of this Agreement or consummation of a sale of the Assets to an

 5   alternate purchaser.

 6           a. Residual Payment. On the Closing Date (defined infra), the Purchasers shall pay the ultimate

 7                 purchase price of the Assets less the Deposit via wire transfer to the A&B Trust.

 8           b. Purchase Price Allocation. Purchasers may elect, in their sole and absolute discretion, to

 9                 allocate the Purchase Price amongst one or more of the Assets.

10   APA, ¶ 8, quoted in its entirety:

11           Equipment sales.

12                 a. Seller shall grant to purchasers an exclusive and limited, royalty-free, license to use

13                    debtor’s name, trademarks, trade names and logos for the limited purposes of

14                    advertising, marketing, and otherwise publicizing the sale of the assets by purchasers.

15                 b. Buyers shall offer to sell any of the excluded property on behalf of debtor, and on

16                    debtor’s own account, with 100% of all sale proceeds going to debtor with buyers

17                    keeping only the requisite buyer’s premium of 18% as their only commission.

18   See King Decl., ¶ 13.

19           10.      The contemplated sale of the Assets is to be “free and clear” of all claims and interests,
20   pursuant to Section 363 of the Bankruptcy Code. The liens of Leaf Capital Funding, LLC shall be

21   paid off through the flow of funds at closing. Schrillo Realty, Inc. is consenting to the sale, free and

22   clear of its lien. Id. at ¶ 14.

23           11.      Purchaser’s right to purchase the Assets is subject to overbid at Auction in the event

24   there are one or more Qualified Bidders. Any Auction would be conducted in accordance with the Sale

25   Procedures Order and comply with the terms and conditions of the Stalking Horse APA. Id. at. ¶ 15.

26   In the event that there is an Initial Overbid by a Qualified Bidder other than the Purchaser, the APA

27   provides that any bid by the Purchaser that matches or exceeds the Initial Overbid or any Subsequent

28   Overbid by another Qualified Bidder, shall be deemed the highest bid. Id.

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 1           12.     Under the APA, if the Stalking Horse Bidder is not the successful bidder, then it will

 2   be entitled to a 3% breakup fee. Id. at. ¶ 16.

 3           13.     The Debtor and the Purchaser have negotiated the APA at arm’s length and in good

 4   faith, and the Debtor believes that the Purchaser should be entitled to the protections of Section 363(m)

 5   of the Bankruptcy Code, which is a condition of the sale. Id. at ¶ 17

 6           14.     There is more than adequate business justification to sell the Assets to the Purchaser

 7   subject to overbid at the Auction. The Debtor’s management and advisors have concluded that, in their

 8   business judgment, based upon the Assets that are proposed to be sold, the treatment of the Excluded

 9   Assets and the terms and conditions of the APA, that the proposed sale is in the best interest of the

10   Debtor’s Estate and all parties in interest. Id. at ¶ 18.

11                                             BASIS FOR RELIEF

12           A.      The Debtor Has Demonstrated Sound Business Justification for the Proposed Sale

13                   and Terms of the APA

14           15.     Section 363(b)(1) of the Bankruptcy Code provides that “[t]he trustee, after notice and

15   a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the estate.”

16   11 U.S.C. § 363(b)(1). Section 105(a) of the Bankruptcy Code provides, in relevant part, that “[t]he

17   court may issue any order, process, or judgment that is necessary or appropriate to carry out the

18   provisions of this title.” 11 U.S.C. § 105(a).

19           16.     The Debtor’s sale or use of property of the estate outside the ordinary course of business
20   should be approved by the Bankruptcy Court because the Debtor, through the King Declaration and

21   Flynn Declaration, has demonstrated a sound business justification for the proposed transaction. See,

22   e.g., Indiana State Police Pension Trust v. Chrysler LLC, 130 S. Ct. 1015 (2009), cert. granted,

23   judgment vacated, and remanded to dismiss appeal as moot, 592 F.3d 370 (2d Cir. 2009) (sale of

24   essentially all of debtor’s assets approved when there was a good business reason and only possible

25   alternative was less recovery in immediate liquidation). See also Stephens Indus., Inc. v. McClung, 789

26   F.2d 386, 390 (6th Cir. 1986); Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citing

27   In re Schipper (Fulton State Bank v. Schipper), 933 F.2d 513, 515 (7th Cir. 1990)); Comm. of Equity

28   Security Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983); In re

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 1   Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991) (explaining that courts have applied

 2   the “sound business purpose” test to evaluate motions brought pursuant to Section 363(b) of the

 3   Bankruptcy Code).

 4             17.   Furthermore, the APA is subject to competing bids at the Auction, provided that there

 5   are other Qualified Bidders, thereby enhancing the Debtor’s ability to receive the highest and best value

 6   for its assets. Consequently, the fairness and reasonableness of the consideration to be received by the

 7   Debtor ultimately will be demonstrated by a “market check” through an auction process, which is the

 8   best means for establishing that a fair and reasonable price is being paid.

 9             18.   Finally, all creditors and parties in interest have received, or will have received by the

10   hearing on this Motion, adequate notice of the Sale Procedures, the Auction and the Sale Hearing, in

11   accordance with the Sale Procedures Order. The Debtor submits that such notice is sufficient for entry

12   of the Sale Order and satisfies requisite notice conditions for approval of the Sale under Section 363(b)

13   of the Bankruptcy Code.

14             19.   Under these circumstances, the Debtor submits that sound business reasons exist for

15   the proposed sale of the Assets outside the ordinary course of business and before the confirmation of

16   a Subchapter V, Chapter 11 plan.

17             B.    The Proposed Sale Satisfies the Requirements of Section 363(f) for a Sale Free and

18                   Clear of Liens, Claims, Interests and Other Encumbrances

19             20.   Under Section 363(f) of the Bankruptcy Code, a debtor-in-possession may sell property
20   free and clear of any interest in such property of an entity other than the estate only if, among other

21   things:
                     (1)    applicable nonbankruptcy law permits sale of such property free and clear of
22                          such interest;
23                   (2)    such entity consents;
24                   (3)    such interest is a lien and the price at which such property is to be sold is greater
                            than the aggregate value of all liens on such property;
25
                     (4)    such interest is in bona fide dispute; or
26
                     (5)    such entity could be compelled, in a legal or equitable proceeding, to accept a
27                          money satisfaction of such interest.
28   11 U.S.C. § 363(f).

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 1          21.      Because Section 363(f) of the Bankruptcy Code is drafted in the disjunctive,

 2   satisfaction of any one of its five requirements will suffice to permit the sale of the Assets “free and

 3   clear” of liens and interests. See Mich. Employment Sec. Comm’n v. Wolverine Radio Co., 930 F.2d

 4   1132, 1147 n.24 (6th Cir. 1991) (Section 363(f) is written in the disjunctive and a court may approve

 5   a sale “free and clear” provided at least one of the subsections of Section 363(f) of the Bankruptcy

 6   Code is met).

 7          22.      In addition, the Debtor submits that the Assets may be sold free and clear of claims,

 8   including successor liability claims, as no Purchaser will, as a result of any action taken in connection

 9   with the purchase of the Assets: (a) be a successor to the Debtor; (b) have, de facto or otherwise,

10   merged with or into the Debtor; or (c) be a continuation or substantial continuation of the Debtor or

11   any enterprise of the Debtor.

12          23.      Several courts have held that, notwithstanding the use of the term “interest” in the

13   statutory language of Section 363(f) of the Bankruptcy Code, that section grants bankruptcy courts the

14   power to convey assets free and clear of claims. See, e.g., In re Trans World Airlines, Inc., No. 01-

15   0056 (PJW), 2001 WL 1820325, at *5 (Bankr. D. Del. Mar. 27, 2001) (“Authorizing the sale [of

16   debtor’s assets] free and clear of . . . successor liability claims achieves the purpose of [Bankruptcy

17   Code] section 363 intended by Congress.”). Other courts, concluding that Section 363(f) of the

18   Bankruptcy Code does not empower them to convey assets free and clear of claims, have nevertheless

19   found that Section 105(a) of the Bankruptcy Code provides such authority. See Volvo White Truck
20   Corp. v. Chambersburg Beverage, Inc. (In re White Motor Credit Corp.), 75 B.R. 944, 948 (Bankr.

21   N.D. Ohio 1987) (stating that the absence of specific authority to sell assets free and clear of claims

22   poses no impediment to such a sale, as such authority is implicit in the court’s equitable powers when

23   necessary to carry out the provisions of Title 11).

24          24.      The Debtor submits that one or more of the subsections of Section 363(f) of the

25   Bankruptcy Code applies to all holders of liens, claims, interests or encumbrances in or against the

26   Assets. Such holders will be adequately protected, as follows:

27                   (1)     Leaf Capital Funding, LLC (“Leaf”). All amounts due to Leaf (approximately

28                   $160,000) shall be paid off through the flow of funds at closing. Debtor has requested

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 1                  a payoff statement from Leaf and intends to file a stipulation prior to the Closing Date

 2                  to specific the payoff amount and the subsequent release of any and all Leaf liens.

 3                  (2)     Schrillo Realty, Inc. (“Realty”).       Realty is an insider of Debtor, and is

 4                  consenting to the sale of the Assets to Purchaser, free and clear of its lien. This

 5                  complies with section 363(f)(2).

 6                  (3)     Other Paid Off Liens of Record. During the sale process, Debtor discovered

 7                  three liens of record for equipment that was paid off years ago. The Debtor has been

 8                  in contact with US Bank, which is the creditor of record on two of those liens, and US

 9                  Bank confirmed in writing on June 14, 2022 that it had filed UCC-3 terminations. The

10                  creditor of record on the third paid off lien is Citibank, and Debtor provided information

11                  to Citibank on June 15, 2022 showing that such lien has been paid, and expects this lien

12                  to be removed as well. Therefore, pursuant to section 363(f)(4), the Assets may be sold

13                  free and clear of these liens, claims and interests.

14   King Decl., ¶ 19.

15          C.      Protections of Section 363(m)

16          25.     The Debtor and the Purchaser have negotiated the APA at arm’s length and in good

17   faith, and the Debtor believes that the Purchaser should be entitled to the protections of Section 363(m)

18   of the Bankruptcy Code.

19          26.     Section 363(m) of the Bankruptcy Code provides, in relevant part, that:
20                  The reversal or modification on appeal of an authorization under subsection (b)
                    or (c) of this section of a sale or lease of property does not affect the validity of
21                  a sale or lease under such authorization to an entity that purchased or leased
                    such property in good faith . . . .
22
     11 U.S.C. § 363(m).
23
            27.     Although the Bankruptcy Code does not define “good faith purchaser,” courts
24
     construing Section 363(m) have adopted the traditional equitable definition of a “good faith purchaser”
25
     and therefore, “to be covered under the statutory protection of § 363(m), the buyers must have
26
     purchased the property ‘in good faith’ and ‘for value.’” In re HNRC Dissolution Co., No. Civ. A. 04-
27
     158 HRW, 2005 WL 1972592, at *4 (E.D. Ky. 2005) (citing In re Abbotts Dairies of Pennsylvania,
28
     Inc., 788 F.2d 143, 147 (3d Cir. 1986)). To constitute lack of good faith, a court must find “fraud or
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 1   collusion between the purchaser and the seller or the other bidders, or that the purchaser’s actions

 2   constituted an attempt to take grossly unfair advantage of other bidders.” In re 255 Park Plaza Assocs.

 3   Ltd. P’ship, 100 F.3d 1214, 1218 (6th Cir. 1996).

 4          28.     Accordingly, the Debtor requests that the Bankruptcy Court make a finding at the Sale

 5   Hearing that the APA was negotiated at arm’s length and is entitled to the protections of Section

 6   363(m) of the Bankruptcy Code.

 7          D.      If There is a Winning Bid Other than the Stalking Horse Bidder the Assumption

 8                  and Assignment of Assumed and Assigned Contracts Should be Authorized if

 9                  Purchased by the Winning Bidder

10          29.     Section 365(f)(2) of the Bankruptcy Code provides, in pertinent part, that:

11                  The trustee may assign an executory contract or unexpired lease of the debtor only if—

12                  (A)       the trustee assumes such contract or lease in accordance with the provisions of
                              this section; and
13                  (B)       adequate assurance of future performance by the assignee of such contract or
                              lease is provided, whether or not there has been a default in such contract or
14                            lease.
15   11 U.S.C. § 365(f)(2).

16          30.     Under Section 365(a) of the Bankruptcy Code, a trustee, “subject to the court’s

17   approval, may assume or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C. §

18   365(a). Courts routinely approve motions to assume and assign, or reject, executory contracts or

19   unexpired leases upon a showing that a debtor’s decision to take such an action will benefit the debtor’s
20   estate and is an exercise of the debtor’s sound business judgment. See, e.g., Borman’s, Inc. v. Allied

21   Supermarkets, Inc., 706 F.2d 187, 189 (6th Cir. 1983), cert. denied, 464 U.S. 908 (1983).

22          31.     Section 365(b)(1) of the Bankruptcy Code, in turn, codifies the requirements for

23   assuming an unexpired lease or executory contract of a debtor. This subsection provides:

24                  (b)(1) If there has been a default in an executory contract or unexpired lease of
                    the debtor, the trustee may not assume such contract or lease unless, at the time
25                  of assumption of such contract or lease, the trustee
26                            (A)    cures, or provides adequate assurance that the trustee will promptly
                                     cure, such default . . .;
27                            (B)    compensates, or provides adequate assurance that the trustee will
                                     promptly compensate, a party other than the debtor to such contract or
28                                   lease, for any actual pecuniary loss to such party resulting from such
                                     default; and
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                           (C)     provides adequate assurance of future performance under such contract
 1                                 or lease.
 2   11 U.S.C. § 365(b)(1).

 3          32.    The Debtor timely filed and served the Notice of Cure Costs and Potential Assumption

 4   and Assignment of Executory Contracts in Connection with Sale [Doc. 70] (“Cure Notice”). To date,

 5   the Debtor has received one filed objection and one informal comment. The Debtor has been in contact

 6   with the creditors relative to these two objections and will be stipulating to a resolution of their

 7   respective cure claims. In addition, to the extent any additional creditors raise formal or informal

 8   objections to the Cure Notice, Debtor intends to reconcile and resolve all such claims in advance of

 9   the Closing Date, and to pay any legitimate cure claims upon any assumption. King Decl., ¶20.

10   Accordingly, Debtor respectfully requests that, in the event there is a Winning Bidder that desires

11   assumption and assignment of any executory contract, such assumption and assignment be authorized

12   and approved by this Court.

13          E.     Waiver of Bankruptcy Rules Regarding Stay of Order

14          33.    To implement the foregoing successfully, the Debtor was granted a waiver of the

15   fourteen-day stay period under Bankruptcy Rule 6004(h) of any order approving the Sale following

16   the Auction. Sale Procedures Motion [Doc. 35] at ¶ 38; Sale Procedures Order at ¶ 1. Debtor

17   respectfully requests that the Sale Order likewise waive the Bankruptcy Rule 6004(h) stay.

18
      DATED: June 16, 2022                                   ALSTON & BIRD LLP
19
20
                                          By: /s/ Leib M. Lerner
21                                                                Leib M. Lerner
                                                                 Douglas J. Harris
22                                                 Attorneys for Debtor, Schrillo Company, LLC
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 1                                   DECLARATION OF BRIAN D. KING

 2   I, Brian D. King, declare as follows:

 3           1.      I am a Manager as well as the Treasurer and Secretary of Schrillo Company, LLC, the

 4   debtor and debtor-in-possession in the above-captioned case (“Debtor”). I am a licensed CPA, and

 5   have also served as the Debtor’s outside accountant for the past 34 years. I have personal knowledge

 6   of the facts set forth in this declaration, except for those matters stated on information and belief,

 7   which I believe to be true. If called as a witness, I could and would testify competently to them.

 8           2.      I submit this declaration in support of the Debtor’s Motion to Sell Substantially All of

 9   Its Assets Free and Clear of Liens, Claims and Interests.

10           3.      The Debtor filed a voluntary Subchapter V, Chapter 11 case in the United States

11   Bankruptcy Court for the Central District of California on April 13, 2022 (the “Petition Date”). The

12   case is assigned to the Honorable Victoria S. Kaufman, and bears case number 1:22-bk-10444-VK.

13   John-Patrick McGinnis Fritz has been appointed as Subchapter V Trustee, and the Debtor remains a

14   debtor-in-possession.

15           4.      The Debtor specializes in precision manufacturing equipment targeting the commercial

16   aviation, military, and space industries. The Debtor’s principal office is located in North Hills,

17   California. As of the Petition Date, the Debtor had 36 regular, full time employees, and currently has

18   33 employees. The Debtor elected to seek protection in Chapter 11 in order to pursue a prompt and

19   efficient reorganization and sell substantially all of its assets as a going concern (“Sale”) and, upon a
20   successful Sale, pay its creditors in full.

21           5.      The Debtor has been trying to sell its business for almost ten years, and over that time

22   period has had a number of potential suitors. Over the past few years, the Debtor’s expenses have

23   exceeded its income, and its parent Schrillo Realty, Inc. has kept the Debtor afloat through a

24   combination of capital infusions and loans.

25           6.      This past March, a potential buyer pulled out at the last minute before signing the

26   transaction papers, after going through over a year of negotiation and due diligence. The Debtor

27   pivoted to the bankruptcy process in order to find a buyer and consummate a sale quickly.

28

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 1            7.    By filing, Debtor’s management believed that the value of the company, if sold quickly,

 2   would exceed all claims and leave equity in the money. The Debtor believes that the sale contemplated

 3   by this Motion will fulfill this goal. In addition, the Debtor is cognizant of and concerned for its 33

 4   employees, and is continuing to market all of its assets for sale, including to a number of parties that

 5   expressed interest in purchasing the Debtor’s assets as a going concern, but whose offers to date fell

 6   short in providing the overall benefit to the Debtor’s estate that the current proposed liquidator sale

 7   will accomplish.

 8            8.    The Debtor worked with Riveron RTS, LLC (“RTS”), its financial advisor retained to

 9   market and sell the Debtor’s assets, since the Petition Date. RTS’s employment was approved by the

10   Court on June 6, 2022.

11            9.    After extensive negotiations with multiple credible parties seeking to become the

12   stalking horse bidder, including almost reaching agreement with two separate parties that intended to

13   buy the Debtor’s assets as a going concern, Machinery Network Auctions, Inc. (“MNA”) and

14   Machinery Marketing International (“MMI”, and together with MNA “Purchaser” or “Stalking

15   Horse Bidder”) emerged as the best party prepared to timely finalize a fair asset purchase agreement

16   that would maximize the value of the Debtor’s estate, and was selected as the Stalking Horse Bidder.

17   The APA provides for a Purchase Price of $1,355,000 for substantially all of the Debtor’s tangible

18   personal property, provides for the consignment sale of Debtor’s inventory by the Purchaser with

19   100% of the sales price less Buyer’s Premium going to the Debtor, and provides that the Debtor retains
20   all of its accounts receivable for the Estate’s benefit, which current balance is approximately $1 million

21   and has historically been collected at a 100% rate. This deal has the highest probability of leading to

22   a plan that will pay all creditors in full. No other potential bidder has come close to Stalking Horse

23   Bidder’s offer in terms of the benefits being offered to the Debtor and the Debtor’s Estate if the Sale

24   is approved, and the simplicity of the deal closing. The Debtor believes that selling the Assets to the

25   Stalking Horse Bidder under the terms and conditions of the proposed sale, including the price and all

26   contingencies, is in the best interest of the Debtor’s estate. The competitive sale process indicates that

27   Debtor is getting the highest bid for the Assets and that the value of the assets is at least the Purchase

28   Price.

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 1           10.      The Debtor’s landlord, Schrillo Realty, Inc., for the premises at 16750 Schoenborn St.,

 2   North Hills, CA 91343 (“Premises”) has worked diligently with the Debtor and interested parties in

 3   order to consummate a sale of the Debtor’s assets. The landlord is accommodating the Stalking Horse

 4   Bidder in consenting to Debtor’s agreeing to Purchasers having 90 days from the Closing Date to

 5   remove the assets from the premises. The landlord has also made numerous concessions to other

 6   potential bidders in efforts to encourage both liquidation and going concern sales. The landlord

 7   remains ready, willing and able to work with any going-concern bidder that wishes to incorporate or

 8   conjoin a lease of the Premises with its Qualified Bid.

 9           11.      The Stalking Horse Bidder executed the Asset Purchase Agreement (the “APA”) in a

10   form acceptable to the Debtor, which is attached as Exhibit A to this Motion.

11           12.      The Debtor intends to continue discussions with multiple potential buyers concerning

12   their interest in acquiring the subject assets before the Sale Hearing and Auction scheduled for July 7,

13   2022. There are multiple potential “going concern” and “liquidation” interested parties that are in

14   discussions with RTS about becoming “Qualified Bidders” for the Auction.

15           13.      The principal terms of the APA are:

16   APA, ¶ 2, quoted in its entirety:

17           Asset Acquisition and Assignment. Subject to the terms contained herein, the Debtor agrees to sell,

18   convey, assign and hypothecate on an AS IS, WHERE IS CONDITION AND WITH ALL FAULTS basis,

19   without any representations or warranties, except as expressly set forth herein, and free and clear of any and
20   all liens, claims, interests, and encumbrances to the fullest extent permitted under section 363(f) of the

21   Bankruptcy Code, to the Purchasers for the consideration provided herein, any and all of the right, title and

22   interest the Debtor and the Debtor’s Estate has in the Assets, in accordance with, and with all protections

23   afforded by, sections 363 and 365 of the Bankruptcy Code, except for the Excluded Assets and Interests

24   (defined infra), as follows:

25           b. Industrial equipment and office equipment identified on Schedule A hereto (the

26                 “Equipment”) and shall include all associated manuals and tooling, rolling stock, racking

27                 and rolling cabinets, steel tables, tool room equipment, supplies and all other and various

28                 support equipment not specifically listed to whatever extent they are the tangible personal

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 1              property of Debtor and in the possession of Debtor.

 2   APA, ¶ 3, quoted in its entirety:

 3          k. Excluded Assets and Interests. Notwithstanding anything stated in this Agreement, the

 4              following property, assets, possessions, rights and interests are expressly excluded from

 5              the Assets (the “Excluded Assets and Interests”), all of which will be retained by Seller:

 6          l. Customer tooling or fixtures (to the extent any remain onsite; which includes 1 whirling

 7              head, 1 tail stock, and 6 holders that are marked as customer owned property), employee

 8              personal items, fixtures, and mechanicals attendant to the building, all raw materials, works

 9              in progress (WIP) and finished parts, both of which Buyers shall offer for sale on behalf of

10              Debtor on a commission only basis, as more fully described herein.

11          m. Intellectual property (including associated good will of the Debtor’s business) (the

12              “Intellectual Property”), except for certain of Debtor’s intellectual property that shall be

13              licensed to Purchasers on a limited basis as set forth in Paragraph 8.

14          n. Executory contracts and unexpired leases (the “Executory Contracts”).

15          o. Accounts receivable (the “Accounts Receivable”).

16          p. The Debtor’s books and records, including customer lists (which, for clarification purposes

17              only, does not include any consumer records) (the “Books and Records”).

18          q. The following leased equipment and vehicle: the Xerox WorkCentre 5335; Pitney Bowes

19              DM125 Postage Meter; Newco Enterprises, Inc. FC-3 Coffee Brewer; Keurig K-2500
20              Coffee Maker; and Cadillac XT5.

21          r. Customer drawings and engineering files.

22          s. Any non-Debtor owned intellectual property in the possession of the Seller, including but

23              not limited to, trademarks, service marks, marks, patents, copyrights, trade secrets,

24              processes, and designs.

25          t. Any cash-on-hand.

26   APA, ¶ 5, in pertinent part:

27          Consideration. As consideration for the sale, conveyance, assignment and/or hypothecation of the

28   Assets by the Seller to the Purchasers, the Purchasers shall pay the sum of ONE MILLION THREE

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 1   HUNDRED FIFTY-FIVE THOUSAND DOLLARS and zero cents ($1,355,000.00) (the “Purchase Price”)

 2   as follows:

 3                    Deposit. On or before June 16, 2022, the Purchasers shall pay the sum

 4                    of 10% (the “Deposit”) of the Purchase Price via wire transfer to counsel

 5                    for the Debtor, Alston & Bird LLP California IOLTA Trust Account

 6                    (“A&B Trust”), for the benefit of Debtor:

 7                    ***

 8           Payment shall be deemed made upon receipt. In the event this Agreement is terminated in

 9   accordance with Paragraph 10, infra, or the Purchasers are not the ultimate purchasers of the Assets, the

10   Purchasers shall be entitled to the return of the Deposit. The Debtor shall return the Deposit no later than

11   five (5) business days after the termination of this Agreement or consummation of a sale of the Assets to an

12   alternate purchaser.

13           c. Residual Payment. On the Closing Date (defined infra), the Purchasers shall pay the ultimate

14                 purchase price of the Assets less the Deposit via wire transfer to the A&B Trust.

15           d. Purchase Price Allocation. Purchasers may elect, in their sole and absolute discretion, to

16                 allocate the Purchase Price amongst one or more of the Assets.

17   APA, ¶ 8, quoted in its entirety:

18           Equipment sales.

19                 c. Seller shall grant to purchasers an exclusive and limited, royalty-free, license to use
20                    debtor’s name, trademarks, trade names and logos for the limited purposes of

21                    advertising, marketing, and otherwise publicizing the sale of the assets by purchasers.

22                 d. Buyers shall offer to sell any of the excluded property on behalf of debtor, and on

23                    debtor’s own account, with 100% of all sale proceeds going to debtor with buyers

24                    keeping only the requisite buyer’s premium of 18% as their only commission.

25           14.      The contemplated sale of the Assets is to be “free and clear” of all claims and interests,

26   pursuant to Section 363 of the Bankruptcy Code. The liens of Leaf Capital Funding, LLC shall be

27   paid off through the flow of funds at closing. Schrillo Realty, Inc. is consenting to the sale, free and

28   clear of its lien.

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 1          15.     Purchaser’s right to purchase the Assets is subject to overbid at Auction in the event

 2   there are one or more Qualified Bidders. Any Auction would be conducted in accordance with the Sale

 3   Procedures Order and comply with the terms and conditions of the Stalking Horse APA. In the event

 4   that there is an Initial Overbid by a Qualified Bidder other than the Purchaser, the APA provides that

 5   any bid by the Purchaser that matches or exceeds the Initial Overbid or any Subsequent Overbid by

 6   another Qualified Bidder, shall be deemed the highest bid.

 7          16.     Under the APA, if the Stalking Horse Bidder is not the successful bidder, then it will

 8   be entitled to a 3% breakup fee.

 9          17.     The Debtor and the Purchaser have negotiated the APA at arm’s length and in good

10   faith, and the Debtor believes that the Purchaser should be entitled to the protections of Section 363(m)

11   of the Bankruptcy Code, which is a condition of the sale

12          18.     There is more than adequate business justification to sell the Assets to the Purchaser

13   subject to overbid at the Auction. The Debtor’s management and advisors have concluded that, in their

14   business judgment, based upon the Assets that are proposed to be sold, the treatment of the Excluded

15   Assets and the terms and conditions of the APA, that the proposed sale is in the best interest of the

16   Debtor’s Estate and all parties in interest.

17          19.     The Debtor submits that one or more of the subsections of Section 363(f) of the

18   Bankruptcy Code applies to all holders of liens, claims, interests or encumbrances in or against the

19   Assets. Such holders will be adequately protected, as follows:
20                  (1)      Leaf Capital Funding, LLC (“Leaf”). All amounts due to Leaf (approximately

21                  $160,000) shall be paid off through the flow of funds at closing. Debtor has requested

22                  a payoff statement from Leaf and intends to file a stipulation prior to the Closing Date

23                  to specific the payoff amount and the subsequent release of any and all Leaf liens.

24                  (2)     Schrillo Realty, Inc. (“Realty”).     Realty is an insider of Debtor, and is

25                  consenting to the sale of the Assets to Purchaser, free and clear of its lien. This

26                  complies with section 363(f)(2).

27                  (3)     Other Paid Off Liens of Record. During the sale process, Debtor discovered

28                  three liens of record for equipment that was paid off years ago. The Debtor has been

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 1                               DECLARATION OF MICHAEL FLYNN

 2   I, Michael Flynn, declare as follows:

 3          1.      I am a senior director of Riveron RTS LLC (“RTS”), proposed financial advisors for

 4   Schrillo Company, LLC, the debtor and debtor-in-possession in the above-captioned case (“Debtor”).

 5   I have personal knowledge of the facts set forth in this declaration, except for those matters stated on

 6   information and belief, which I believe to be true. If called as a witness, I could and would testify

 7   competently to them.

 8          2.      I submit this declaration in support of the Debtor’s Motion to Sell Substantially All of

 9   Its Assets Free and Clear of Liens, Claims and Interests.

10          3.      RTS actively reached out to industry participants and potential investors likely to be

11   interested in buying the Debtor’s assets. Additionally, the Debtor and its professionals were contacted

12   by other potential investors that expressed an interest in potentially purchasing the Debtor’s assets,

13   and RTS followed up with each of those contacts.

14          4.      RTS spoke with or had correspondence with approximately 86 interested parties,

15   received approximately 30 executed Non-Disclosure Agreements (“NDA”), and prompted six letters

16   of intent or similar form of written offer, which were under management consideration for stalking

17   horse position. RTS and Debtor management had offsite conferences with 23 potential buyers, onsite

18   meetings and on-site tours with 13 potential buyers, and additional meetings are scheduled for after

19   this filing. Debtor has also set up a data room, and every party that has executed an NDA has been
20   provided access.

21          5.      After extensive negotiations with multiple credible parties seeking to become the

22   stalking horse bidder, including almost reaching agreement with two separate parties that intended to

23   buy the Debtor’s assets as a going concern, Machinery Network Auctions, Inc. (“MNA”) and

24   Machinery Marketing International (“MMI”, and together with MNA “Purchaser” or “Stalking

25   Horse Bidder”) emerged as the best party prepared to timely finalize a fair asset purchase agreement

26   that would maximize the value of the Debtor’s estate, and was selected as the Stalking Horse Bidder.

27   The APA provides for a Purchase Price of $1,355,000 for substantially all of the Debtor’s tangible

28   personal property, provides for the consignment sale of Debtor’s inventory by the Purchaser with

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 1   100% of the sales price less Buyer’s Premium going to the Debtor, and provides that the Debtor retains

 2   all of its accounts receivable for the Estate’s benefit, which current balance is approximately $1 million

 3   and has historically been collected at a 100% rate. This deal has the highest probability of leading to

 4   a plan that will pay all creditors in full. No other potential bidder has come close to Stalking Horse

 5   Bidder’s offer in terms of the benefits being offered to the Debtor and the Debtor’s Estate if the Sale

 6   is approved, and the simplicity of the deal closing. The Debtor believes that selling the Assets to the

 7   Stalking Horse Bidder under the terms and conditions of the proposed sale, including the price and all

 8   contingencies, is in the best interest of the Debtor’s estate. The competitive sale process indicates that

 9   Debtor is getting the highest bid for the Assets and that the value of the assets is at least the Purchase

10   Price.

11            6.     The Debtor intends to continue discussions with multiple potential buyers concerning

12   their interest in acquiring the subject assets before the Sale Hearing and Auction scheduled for July 7,

13   2022. There are multiple potential “going concern” and “liquidation” interested parties that are in

14   discussions with RTS about becoming “Qualified Bidders” for the Auction.

15            I declare under penalty of perjury under the laws of the United States of America that the

16   foregoing is true and correct.

17
      Date: June 16, 2022
18
                                                                      Michael Flynn
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                               ASSET PURCHASE AGREEMENT

        This Asset Purchase Agreement (this “Agreement”) is entered into by and between
Machinery Network Auctions, Inc. (“MNA”) and Machinery Marketing International (“MMI”,
and together with MNA, the “Purchasers”), on the one hand, and Schrillo Company, LLC (the
“Seller” or “Debtor”), a California limited liability company having its address of record at 16750
Schoenborn St., North Hills, CA 91343, on the other hand (collectively, the “Parties” and each, a
“Party”), as of June 16, 2022, and is made with respect to the following facts:

                                           RECITALS

        A.     On April 13, 2022, Debtor filed a voluntary petition under Subchapter V of Chapter
11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”),
commencing the bankruptcy case In re Schrillo Company, LLC, Case No. 1:22-bk-10444-VK (the
“Bankruptcy Case”) in the United States Bankruptcy Court for the Central District of California,
(the “Bankruptcy Court”), thereby creating an estate comprised of all legal or equitable interests
of the Debtor in property as of the commencement of the Bankruptcy Case (the “Estate”).

       B.     On May 16, 2022, the Bankruptcy Court entered its Order Approving Debtor’s
Motion to Approve Sale Procedures for the Auction of Substantially all of its Assets Free and Clear
of Liens, Claims and Interests [Doc. 53] (“Procedures Order”), approving Debtor’s Motion to
Approve Sale Procedures for the Auction of Substantially all of its Assets Free and Clear of Liens,
Claims and Interests [Doc. 35] (“Procedures Motion”).

      C.      On June 9, 2022, the Bankruptcy Court extended the deadlines set forth in the
Procedures Order.

         D.       Purchasers wish to purchase, and Seller has agreed to sell, assign and transfer all of
its right, title and interest in and to, substantially all of the Seller’s tangible personal property (the
“Assets”) for the purpose of liquidating such Assets via auction or other sale proceeding.

                                         AGREEMENT

        NOW, THEREFORE, in consideration of the foregoing recitals, and for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged by the
Parties, the Parties hereby agree as follows:

        1.       Bankruptcy Court Approval. This Agreement shall not be deemed effective unless
and until the Bankruptcy Court enters a final order approving this Agreement without material
modification pursuant to Section 363 of the Bankruptcy Code (the “Sale Order”). The Debtor shall
request Bankruptcy Court approval of this Agreement. If the Bankruptcy Court denies the motion
seeking approval of this Agreement or approves this Agreement subject to material modifications, this
Agreement shall be deemed null, void ab initio, and unenforceable, unless the Parties both agree in
writing to proceed forward under this Agreement despite the material modifications. The date on which
the Sale Order is entered without material modification becomes a Final Order may be referred to
hereinafter as the “Effective Date.” An order shall be deemed a “Final Order” fifteen (15) calendar
days after its entry, unless the Sale Order provides otherwise, in which case the Sale Order governs.



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        2.       Asset Acquisition and Assignment. Subject to the terms contained herein, the Debtor
agrees to sell, convey, assign and hypothecate on an AS IS, WHERE IS CONDITION AND WITH
ALL FAULTS basis, without any representations or warranties, except as expressly set forth herein,
and free and clear of any and all liens, claims, interests, and encumbrances to the fullest extent permitted
under section 363(f) of the Bankruptcy Code, to the Purchasers for the consideration provided herein,
any and all of the right, title and interest the Debtor and the Debtor’s Estate has in the Assets, in
accordance with, and with all protections afforded by, sections 363 and 365 of the Bankruptcy Code,
except for the Excluded Assets and Interests (defined infra), as follows:

                a.      Industrial equipment and office equipment identified on Schedule A hereto
                        (the “Equipment”) and shall include all associated manuals and tooling,
                        rolling stock, racking and rolling cabinets, steel tables, tool room
                        equipment, supplies and all other and various support equipment not
                        specifically listed to whatever extent they are the tangible personal property
                        of Debtor and in the possession of Debtor.

        3.    Excluded Assets and Interests. Notwithstanding anything stated in this
Agreement, the following property, assets, possessions, rights and interests are expressly
excluded from the Assets (the “Excluded Assets and Interests”), all of which will be retained by
Seller:

                a.      Customer tooling or fixtures (to the extent any remain onsite; which
                        includes 1 whirling head, 1 tail stock, and 6 holders that are marked as
                        customer owned property), employee personal items, fixtures, and
                        mechanicals attendant to the building, all raw materials, works in progress
                        (WIP) and finished parts, both of which Buyers shall offer for sale on behalf
                        of Debtor on a commission only basis, as more fully described herein.

                b.      Intellectual property (including associated good will of the Debtor’s
                        business) (the “Intellectual Property”), except for certain of Debtor’s
                        intellectual property that shall be licensed to Purchasers on a limited basis
                        as set forth in Paragraph 8.

                c.      Executory contracts and unexpired leases (the “Executory Contracts”).

                d.      Accounts receivable (the “Accounts Receivable”).

                e.      The Debtor’s books and records, including customer lists (which, for
                        clarification purposes only, does not include any consumer records) (the
                        “Books and Records”).

                f.      The following leased equipment and vehicle: the Xerox WorkCentre 5335;
                        Pitney Bowes DM125 Postage Meter; Newco Enterprises, Inc. FC-3
                        Coffee Brewer; Keurig K-2500 Coffee Maker; and Cadillac XT5.

                g.      Customer drawings and engineering files.

                h.      Any non-Debtor owned intellectual property in the possession of the


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                       Seller, including but not limited to, trademarks, service marks, marks,
                       patents, copyrights, trade secrets, processes, and designs.

                i.     Any cash-on-hand.

       4.       Overbid and Auction. The sale of the Assets to the Purchasers pursuant to this
Agreement (the “Sale”) shall be subject to auction, which auction is generally referred to herein as an
“Auction.” The Auction shall take place in the Bankruptcy Court immediately prior to the hearing on
the motion to approve this Agreement and the Sale (the “Sale Hearing”) unless the Bankruptcy Court
designates an alternate time and/or place for the Auction.

       5.      Consideration. As consideration for the sale, conveyance, assignment and/or
hypothecation of the Assets by the Seller to the Purchasers, the Purchasers shall pay the sum of ONE
MILLION THREE HUNDRED FIFTY-FIVE THOUSAND DOLLARS and zero cents
($1,355,000.00) (the “Purchase Price”) as follows:

                Deposit. On or before June 16, 2022, the Purchasers shall pay the
                sum of 10% (the “Deposit”) of the Purchase Price via wire transfer to
                counsel for the Debtor, Alston & Bird LLP California IOLTA Trust
                Account (“A&B Trust”), for the benefit of Debtor:

                       Bank Name: Wells Fargo Bank, San Francisco, CA
               Account Name: Alston & Bird LLP California IOLTA Trust Account
                                  Account #: 20000 4068 3595
                                   WIRE ABA #: 121 000 248
                                    ACH ABA #: 122 287 170
                                     Swift Code: WFBIUS6S
                  Reference: Schrillo Company, LLC (MNA & MMI’s Deposit)

       Payment shall be deemed made upon receipt. In the event this Agreement is terminated in
accordance with Paragraph 10, infra, or the Purchasers are not the ultimate purchasers of the
Assets, the Purchasers shall be entitled to the return of the Deposit. The Debtor shall return the
Deposit no later than five (5) business days after the termination of this Agreement or
consummation of a sale of the Assets to an alternate purchaser.

                a.     Residual Payment. On the Closing Date (defined infra), the Purchasers shall
                       pay the ultimate purchase price of the Assets less the Deposit via wire transfer
                       to the A&B Trust.

                b.     Purchase Price Allocation. Purchasers may elect, in their sole and absolute
                       discretion, to allocate the Purchase Price amongst one or more of the Assets.

       6.       Sale Procedures. The Debtor has obtained approval of the following procedures for
the Auction:

                a.     Due Diligence and Confidentiality. Any interested party may, at their
                       option, execute an NDA obtainable from Riveron RTS, LLC (“RTS”) and
                       arrange for access to the data room (“Data Room”) and to inspect and


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                     review any of the Assets, including a visit to the Debtor’s principal place of
                     business, 16750 Schoenborn St., North Hills, CA 91343. Parties are
                     encouraged to immediately contact Michael N. Flynn at RTS:

                                             Michael N. Flynn
                                         Michael.Flynn@riveron.com
                                              C: 817.681.8860

                b.   Notice of Intent to Bid/Deposit. Any party interested in bidding on the
                     Assets during the Auction shall submit a written notice of intent to bid along
                     with proof of the financial ability to purchase the Assets on the same terms
                     and timeline as in this Agreement (or such other terms as may be acceptable
                     to Debtor in its sole and absolute discretion), and in any event no later than
                     June 23, 2022, and provide a deposit in the amount of 10% (the “Overbid
                     Deposit”) of the party’s proposed purchase price to the Debtor via wiring
                     payment to the A&B Trust on or before June 23, 2022.

                c.   Qualified Bidder. The Debtor shall determine in its sole and absolute
                     discretion whether the proof of financial ability to consummate the sale is
                     sufficient to qualify the potential bidder to participate in the Auction
                     (“Qualified Bidder”). Only Qualified Bidders may participate during the
                     Auction. If a potential bidder does not qualify, the bidder may object to
                     his/her/its characterization as unqualified.

                d.   Stalking Horse Bidder. Any party interested in bidding on the Assets as
                     the Stalking Horse Bidder shall submit an executed Agreement along with
                     proof of the financial ability to purchase the Assets in accordance with the
                     terms and timeline of this Agreement on or before June 16, 2022, and
                     provide a deposit in the amount of 10% of the party’s proposed purchase
                     price to the Debtor via wiring payment to the A&B Trust on or before June
                     16, 2022, and shall otherwise comply with all material terms and conditions
                     of this Agreement. The Debtor shall file a notice of any Stalking Horse
                     Bidder, the proposed purchase price and whether the Stalking Horse Bidder
                     intends to purchase all or only part of the Assets, on or before June 16, 2022.
                     For avoidance of doubt, the Stalking Horse Bidder shall be considered a
                     Qualified Bidder for all purposes, provided, however, that any specific
                     provisions hereto regarding the Stalking Horse Bidder shall supersede any
                     general provisions regarding a Qualified Bidder. If the Stalking Horse
                     Bidder intends to purchase only part of the Assets, the Debtor may accept a
                     separate Stalking Horse Bidder for other Assets, and the same terms and
                     conditions shall apply to each Stalking Horse Bidder.

                e.   Minimum Initial Overbid/Bid Increments. The minimum initial overbid
                     during the Auction shall be no less than (x) FIFTY THOUSAND
                     DOLLARS and zero cents ($50,000.00) more than the Stalking Horse
                     Bidder proposed purchase price plus (y) the Break-up Fee (defined infra)
                     (the “Initial Overbid”) (if any) and, thereafter (or if there is no Stalking


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                     Horse Bidder), each overbid shall be in increments of no less than
                     TWENTY-FIVE THOUSAND DOLLARS and zero cents ($25,000.00)
                     more than the immediately preceding bid.

                f.   Back-up Bidder. If multiple bids are presented during the Auction, the
                     highest and best bid as determined by the Debtor in its sole and absolute
                     discretion, shall be selected as the winning bid (the “Winning Bidder”). The
                     individual or entity that bid the next highest and best bid (the “Back-up
                     Bid”) shall be deemed to be the back-up bidder (the “Back-up Bidder”). In
                     the event that the Winning Bidder or, if applicable, the Back-up Bidder fails
                     to close the sale within the time allotted, the Debtor shall solely retain or be
                     entitled to recover the Deposit or Overbid Deposit, as applicable, as
                     liquidated damages.

                g.   Break-up Fee. In the event that the Sale closes without the Stalking Horse
                     Bidder acquiring the Assets, then the Stalking Horse Bidder shall be entitled
                     to a break-up fee in the amount of 3% of the Stalking Horse Bidder’s
                     originally proposed purchase price (the “Break-up Fee”).

                h.   Overbid Deposit Return. With the exception of the deposits paid by the
                     Winning Bidder and/or Back-up Bidder, all Overbid Deposits shall be
                     returned no later than seven (7) days after the conclusion of the Auction. If
                     the Winning Bidder closes on the Sale, the Back-up Bidder shall be entitled
                     to the return of its Overbid Deposit no more than seven (7) business days
                     after the Closing Date.

                i.   Bidding Order. Bidding during the Auction shall begin with the highest
                     qualified bid submitted prior to the Auction, if any. During the Auction, the
                     Stalking Horse Bidder (if any) shall be entitled to offer the first bid in
                     response to the Initial Overbid. Thereafter, the order for the submission of
                     bids shall be governed by a randomly selected order by the Debtor that will
                     be maintained for the rest of the Auction. A bidder that abstains from
                     submitting a bid in any round of bidding waives the right to thereafter
                     submit a bid during a later round. Bidding shall continue until a Winning
                     Bidder and Back-up Bidder are selected.

                j.   Zoom Participation. Any Qualified Bidder, including the Stalking Horse
                     Bidder, who wishes to participate in the Auction must be present (whether
                     in person or through a designated agent) via Zoom with their video camera
                     on. No telephonic or non-video participation at the Auction will be
                     permitted, unless otherwise ordered by the Court.

                k.   Transcription. The Auction will be transcribed by a court reporter, or audio
                     recorded, at the Debtor’s discretion.

                l.   Open Bidding. Except as otherwise set forth herein, the Debtor may
                     conduct the Auction in the manner it determines will result in the highest,



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                     best or otherwise financially superior offer(s) for the Assets. Any such rules
                     must provide that: (A) the procedures will be fair and open, with no
                     participating Qualified Bidder disadvantaged in any material way as
                     compared to any other Qualified Bidder; (B) the true identity of each
                     Qualified Bidder will be fully disclosed to the Court and all other Qualified
                     Bidders and all material terms of each Qualified Bid will be fully disclosed
                     to all other bidders throughout the entire Auction; and (C) each Qualified
                     Bidder will be permitted a fair, but limited, amount of time to respond to
                     the previous bid at the Auction. The Debtor requests that the Court either
                     (i) conduct the Auction or (ii) permit counsel for Debtor to conduct the
                     Auction in open court.

                m.   Rounds. The Auction will continue in one or more rounds of bidding and
                     shall conclude after each participating Qualified Bidder has had an
                     opportunity to submit an additional bid, after being advised of the then-
                     highest bid and the identity of the party making such next highest bid.

                n.   Higher and Better Bids. In considering every bidder’s bids, the Debtor
                     shall take into account the Break-up Fee.

                o.   Additional Terms and/or Conditions. The Debtor, in its sole and absolute
                     discretion, may (a) amend and/or impose additional terms and/or conditions
                     at or prior to the Auction that it believes will better promote the goals of the
                     Auction and do not otherwise conflict with the terms and requirements set
                     forth in the APA, (b) extend the deadlines set forth in the sale procedures
                     and/or adjourn the Auction and/or the Sale Hearing in open court or on the
                     Bankruptcy Court’s calendar on the date scheduled for said hearing without
                     further notice to creditors or parties-in-interest, and (c) withdraw the Sale at
                     any time prior to the conclusion of the Sale Hearing.

                p.   Winning Bidder. The Debtor shall (i) review each bid (as and to the extent
                     such bids were increased at the Auction) on the basis of financial and
                     contractual terms and the factors relevant to the sale, including those factors
                     affecting the speed and certainty of consummating the sale, and (ii) identify the
                     highest and otherwise best offer for the Assets as the winning bid, and such
                     entity submitting the winning bid will be the Winning Bidder. Prior to the
                     conclusion of the Auction, the Winning Bidder shall enter into an APA that
                     conforms with the winning bid. Immediately following the conclusion of the
                     Auction, the Debtor shall request that the Court enter an order approving the
                     Auction.

       7.    Purchaser Representations and Warranties. In conjunction with the sale, the
Purchasers make the following representations and warranties:

                a.   MNA is a corporation formed under the laws of the State of California. MMI
                     is a limited liability company formed under the laws of the State of California.




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                      The Purchasers are in good standing and is authorized to conduct business
                      within the state of its organization.

                b.    The Purchasers have obtained any and all corporate approvals necessary to
                      execute this Agreement and consummate the Sale on the terms set forth
                      herein.

                c.    The Purchasers have sufficient funds to consummate the Sale and make all
                      payments required under this Agreement within the time allotted for such
                      payments.

                d.    The Purchaser acknowledges that the Debtor has not guaranteed the Break-
                      up Fee. The Purchaser further acknowledges that whether such Break-up
                      Fee is granted rests solely within the discretion of the Bankruptcy Court
                      and, so long as the Debtor requests such Break-up Fee, that the denial or
                      modification of any such Break-up Fee by the Bankruptcy Court shall not
                      constitute a breach of this Agreement by the Debtor or the Estate or cause
                      to terminate this Agreement.

                e.    The Purchasers acknowledge that the Sale transaction involves the sale,
                      conveyance, assignment and/or hypothecation of the Estate’s rights, title
                      and interest in the Assets.

                f.    The Purchasers acknowledge that they are purchasing the Assets without
                      any representations or warranties by the Seller as to the quality, condition,
                      or the appropriateness for any particular purpose with respect to any of the
                      Assets.

                g.    Any omission or inaccuracy of any information and/or documentation
                      provided by the Debtor and/or any of its agents shall not result in any claim
                      by the Purchasers for damages or cause a material breach of this Agreement.
                      The Purchasers have not relied upon such information and documentation
                      in deciding to proceed with the Sale; rather, the Purchasers have conducted
                      independent due diligence regarding the Assets and have decided to proceed
                      with the acquisition of the Assets based on the information it obtained
                      through its independent research and analysis of the Assets.

                h.    The Purchasers represent and warrant that they are not insiders of the Debtor as
                      that term is defined in section 101(31) of the Bankruptcy Code.

        8.      Equipment Sales.

                a.    Seller shall grant to Purchasers an exclusive and limited, royalty-free,
                      license to use Debtor’s name, trademarks, trade names and logos for the
                      limited purposes of advertising, marketing, and otherwise publicizing the
                      sale of the Assets by Purchasers.

                b.    Buyers shall offer to sell any of the Excluded Property on behalf of Debtor,


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                       and on Debtor’s own account, with 100% of all sale proceeds going to
                       Debtor with Buyers keeping only the requisite Buyer’s Premium of 18% as
                       their only commission.

        9.      Closing.

                a.     In General. The closing date of the Sale shall be the first business day after
                       the Effective Date (the “Closing Date”). The Parties may agree to extend
                       the Closing Date for up to fifteen (15) days without further approval of the
                       Bankruptcy Court. Any agreement to extend or delay the Closing Date must
                       be set forth in writing. In no event shall the Closing Date occur more than
                       fifteen (15) calendar days after the Effective Date.

                b.     Debtor Deliveries at Closing. The Debtor shall deliver to the Purchasers, as
                       applicable, such duly executed bills of sale, assignments and other instruments
                       of assignment, transfer or conveyance, in form and substance reasonably
                       satisfactory to the Purchasers, as the Purchasers may reasonably request or as
                       may be otherwise necessary to evidence and effect the sale, assignment,
                       transfer, conveyance and delivery of the Assets and to put the Purchasers in
                       actual possession and control of the Assets (all such deliveries referred to
                       herein as the “Ancillary Agreements”).

                c.     Payoff of Leaf Capital Funding, LLC Liens. Notwithstanding anything
                       elsewhere in this Agreement, Seller shall be obligated to pay off the
                       outstanding balance of any amounts owed to Leaf Capital Funding, LLC
                       under the financing agreements by and between Leaf Capital Funding, LLC
                       and the Seller, through the flow of funds at closing.

                d.     Post-Closing Covenants.

                     i.       Purchasers shall have 90 days from the Closing Date to remove the
                              Assets from the premises and shall follow any other directives as
                              Seller may, from time-to-time, have. Upon the Closing Date,
                              Purchasers shall have immediate, if limited, access to the Assets and
                              shall enjoy free, unobstructed use of the premises at 16750
                              Schoenborn St., North Hills, CA 91343 (“Premises”) at no
                              additional cost to the Purchasers to prepare for and hold an auction of
                              the Assets. Any of the Assets not removed after 90 days from the
                              Closing Date shall be deemed abandoned by Purchasers and all title
                              and interest shall automatically revert to Seller without further notice,
                              cost or rebate.

                     ii.      If Purchasers’ or their agents’ access, use or occupancy of the
                              Premises is unreasonably impeded, delayed or interrupted for any
                              unreasonable reason caused by Seller, Purchasers may elect, in their
                              sole discretion, to toll the access period during the interruption or may
                              terminate this Agreement without further obligation, penalty or



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                               consequence;

                     iii.      Seller shall maintain and pay for all utilities, including but not
                               limited to, electric, gas, water, sewer, and trash service as
                               necessary for Purchasers’ purpose at the Premises throughout the
                               term of the Agreement.

                     iv.       Seller shall be responsible for providing security at the Premises for
                               the Assets from the Closing Date through the completion of the
                               Purchasers’ auction of the Assets.

                      v.       Seller shall name Purchasers and Schrillo Realty, Inc. as an additional
                               insured or loss payee under its blanket commercial general liability
                               insurance policy from the Closing Date through the completion of the
                               Purchasers’ auction of the Assets.

                     vi.       Seller shall be responsible for the removal of all coolants from the
                               Assets, if any. Purchasers shall not be liable for the handling or
                               removal of any hazardous substances, trash, or other debris from
                               either the Assets or Premises.

                     vii.      The Parties agree as follows with respect to the period following the
                               Closing Date: (i) If at any time after the Closing Date any further actions
                               are necessary to carry out the purposes of this Agreement, each of the
                               Parties shall make commercially reasonable efforts to take such further
                               actions (including the execution and delivery of such further
                               instruments and documents) as any other Party may reasonably request,
                               all at the sole cost and expense of the requesting Party.

        10.   Termination. This Agreement may be terminated by either Party hereto through the
provision of written notice of termination upon the occurrence of one or more of the following
events:

                a.      The Bankruptcy Court fails to enter an order approving the sale within one
                        week after the conclusion of the Auction.

                b.      The Bankruptcy Court enters an order either (i) denying approval of this
                        Agreement and the sale or (ii) approving this Agreement subject to material
                        modifications which are not approved by the Parties in accordance with
                        Paragraph 1 of this Agreement and/or that does not include a good faith
                        finding pursuant to section 363(m) of the Bankruptcy Code;

                c.      The Bankruptcy Court approves the sale of the Assets to a third party and, in
                        the event the Purchasers are the Back-up Bidder, such third party consummates
                        the acquisition of the Assets.

                d.      Breach by the Purchaser in accordance with Paragraph 11.



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                e.     Breach by the Debtor in accordance with Paragraph 12.

        11.      Breach by Purchaser. In the event the Purchasers fail to close the Sale or timely
perform any obligation under this Agreement solely as a result of Purchasers’ acts or omissions,
the Purchasers and the Debtor acknowledge that it would be impractical and extremely difficult to
estimate the damages the Estate will suffer as a result of such breach. Therefore, the Purchasers
and the Debtor hereby agree that a reasonable estimate of the damages that the Estate would suffer
in the event that the Purchasers default is and will be an amount equal to the Deposit. Such amount
shall be the full, agreed upon and sole amount of monetary damages for default by the Purchasers
under this Agreement, and all other claims to damages or other remedies, including, without
limitation, the remedy of specific performance, being hereby expressly waived by the Debtor. This
Agreement will thereupon be terminated and neither Party will have any further rights or
obligations hereunder. Notwithstanding anything in this Agreement to the contrary, the Purchasers
shall not be in default with respect to any of its obligations hereunder unless and until (i) the
Purchasers receive written notice from the Debtor specifying such default and the means/remedies
to cure such default; and (ii) the Purchasers fail to cure such default within five (5) business days
from the receipt of such notice, except that no such cure period shall apply to a default by the
Purchasers that is the failure to close the Sale on the Closing Date, as may be extended by the
written agreement of the Parties.

        12.     Breach by the Debtor. In the event the Debtor breaches any provision of this
Agreement, the sole and exclusive remedy of the Purchasers shall be to return the Parties to the status
quo ante through the rescission or termination of this Agreement and the return of any and all funds
delivered to the Debtor by the Purchasers in conjunction with this Agreement or the proposed sale.
The Purchasers shall not be entitled to pursue or obtain any further or additional monetary damages
or legal or equitable remedies against the Debtor or the Estate.

        13.      Assignment. The Purchasers may not assign this Agreement, or any rights
hereunder, without the prior written consent of the Debtor. Notwithstanding the foregoing, an
assignment to an entity that is owned and controlled by the Purchasers or the members of the
Purchasers, and that expressly assumes in writing all of the Purchasers’ obligations hereunder (a
“Permitted Assignee”), does not require the Debtor’s written consent; provided, however, that any
Permitted Assignee, concurrently with assuming the Purchasers’ obligations under this Agreement,
must make in writing the same representations and warranties (adapted as required for the type of
entity and state of formation or incorporation) as the Purchasers have made under this Agreement, but
if such Permitted Assignee fails to expressly do so, it shall be deemed to have made such
representations and warranties by executing the assignment and assumption agreement with the
Purchasers and the breach of any such representations and warranties shall have the same
consequences as if the Purchasers have breached such representations and warranties. The Purchasers
will give the Debtor written notice of any Permitted Assignee or any other proposed assignee at least
five (5) business days prior to the Closing Date, and the Purchasers shall remain liable for any
monetary obligation of any Permitted Assignee. No assignment will release the Purchasers from their
obligations hereunder.

        14.     Miscellaneous Provisions.

                a.     Partial Invalidity. If any term or provision of this Agreement or the


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                     application thereof to any individual or entity or particular circumstance
                     shall, to any extent, be invalid or unenforceable, the remainder of this
                     Agreement, or the application of such term or provision to individuals or
                     entities or particular circumstances other than those as to which it is held
                     invalid or unenforceable, shall not be affected thereby, and each such term
                     and provision of this Agreement shall be valid and be enforced to the fullest
                     extent permitted by law.

                b.   Waivers. No waiver of any breach of this Agreement, or any covenant or
                     provision herein, shall be deemed a waiver of any preceding or succeeding
                     breach thereof or of any other covenant or provision herein contained. No
                     extension of time for performance of any obligation or act shall be deemed an
                     extension of time for performance of any other obligation or act.

                c.   Successors and Assigns. Subject to the limitations of Paragraph 13, supra,
                     this Agreement shall be binding upon and shall inure to the benefit of the
                     heirs, successors and assigns of the Parties hereto.

                d.   Entire Agreement. This Agreement (including all schedules and exhibits
                     attached hereto) is the final expression of, and contains the entire agreement
                     between, the Parties with respect to the subject matter hereof and supersedes
                     all prior understandings (including any so-called "term sheets" or "letters of
                     intent") with respect thereto.

                e.   No Third-Party Benefit. Other than as expressly set forth in Paragraph
                     13.c., this Agreement is for the benefit of the Parties only and is not intended
                     to and shall not confer any rights or benefits upon any other individual or
                     entity.

                f.   Construction. Paragraph headings are solely for convenience, and are not a part
                     of this Agreement. Whenever required by the context of this Agreement, the
                     singular includes the plural, the masculine includes the feminine and the neuter,
                     and vice versa. Unless otherwise indicated, all references to Paragraphs (and
                     subparagraphs) are to Paragraphs (and subparagraphs) of this Agreement. All
                     exhibits and schedules referred to in this Agreement are attached and
                     incorporated by this reference. In the event the date on which the Purchasers or
                     the Debtor are required to take any action under the terms of this Agreement is
                     not a business day, the action will be taken on the next succeeding business day.

                g.   Joint Authorship. This Agreement is the product of negotiation and preparation
                     by and among each Party hereto, and each Party acknowledges that it has had
                     the opportunity to consult with independent counsel of its choosing.
                     Accordingly, this Agreement and any ambiguities or uncertainties contained
                     herein shall be equally and fairly interpreted and construed without reference to
                     the identity of the individual or entity preparing this Agreement on the express
                     understanding and agreement that the Parties participated equally in the
                     negotiation and preparation of this Agreement or have had equal opportunity to


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                       do so. Accordingly, the Parties hereby waive the benefit of California Civil Code
                       section 1654 and any successor or amended statute, which provides that in cases
                       of uncertainty, language of a contract should be interpreted most strongly against
                       the party who caused the uncertainty to exist, and any and all similar rule(s)
                       and/or statute(s).

                  h.   Governing Law/Forum Selection. THIS AGREEMENT SHALL BE
                       GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE
                       LAWS OF THE STATE OF CALIFORNIA WITHOUT GIVING EFFECT TO
                       THE CHOICE OF LAWS PRINCIPLES THEREOF. By executing this
                       Agreement, each of the Parties hereto hereby (1) irrevocably and unconditionally
                       agrees that any legal action, suit or proceeding with respect to any matter under
                       or arising out of or in connection with this Agreement shall be brought in the
                       Bankruptcy Court and (2) irrevocably accepts and submits itself to the exclusive
                       jurisdiction of the Bankruptcy Court, generally and unconditionally, with respect
                       to any such action, suit or proceeding, and consents to the entry of any final order
                       or judgment by the Bankruptcy Court. If the Bankruptcy Court lacks the requisite
                       jurisdiction or authority to adjudicate any such disputes, the Parties hereto hereby
                       consent to the jurisdiction and venue of the United States District Court for the
                       Central District of California to resolve any such disputes.

                  i.   Counterparts; Electronic Signatures. This Agreement may be executed
                       in one or more counterparts, each of which shall be deemed to be an
                       original, but all of which together shall constitute one and the same
                       instrument. Copies of signatures on documents transmitted by electronic
                       means shall be valid. A Party may change the designated recipient or
                       address(es) for the provision of notice(s) under this Agreement by transmitting
                       a notice of address or recipient change by the means specified in this Paragraph.
                       Any address or recipient change shall be deemed effective upon receipt. Any
                       notices transmitted prior to receipt of a notice of address or recipient change
                       shall be deemed valid and effective.

Notices to Seller:

Schrillo Company, LLC
16750 Schoenborn St.
North Hills, CA 91343
Attn: Jeri Nowlen and Brian D. King
jnowlen@schrillo.com
brian@bkingcpa.com

With a copy to:

Alston & Bird LLP
333 S. Hope Street, 16th Floor
Los Angeles, CA 90071
Attn: Leib M. Lerner, Esq. and Douglas Harris, Esq.


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                                       SCHEDULE A

                                        [Equipment]


 Grinding Area

 Shigiya GSP-30 CNC Plain Cylindrical Grinder, Fanuc Powermate, 2 Axis
 control, gauging, New 2000
 Shigiya GPS-30 CNC Plain Cylindrical Grinder, Fanuc Powermate, 2 Axis
 control, gauging, New 2007

 Super Mic
 Tschudin HTG-600 Univ Cylindrical Grinders, DRO, s/n 65200
 Tschudin HTG-400 Univ Cylindrical Grinder, DRO, s/n 681158
 Tschudin HT-400 Univ Cylindrical Grinder, DRO, s/n 691233
 Landis 3R Plain Cylindrical Grinder, 14” x 48” CC, gauging, s/n 797-60 New
 approx. 1970

 Excello 33 Thread Grinder, s/n 3129
 J&L 16” Comparator, basic
 Cincinnati Centerless grinder s/n UNK EA mdl?
 Heald 72A ID Grinder, Red Head spindle – 1940’s
 Heald 72A ID Grinder, Red Head spindle - 1940’s
 Landis 4H Pl Cylindrical grinder
 Rockwell Delta Drill Press
 Magnaflux Magnetic Inspection Machine – 1960’s
 Grinding wheels, hubs, tooling, fixturing, small gauges & cabinets through-out
 grind area


 Small Lab

 2’ x 3’ Granite Surface Plate, height gauge, arbor press, Blue M oven, Small Lab
 hood, custom built test machines, broken arm router, shelves & benches


 Shipping Dept


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 GMC Savana G2500, 6L V8, Cargo Van –
 New 2018




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 Tool Grinding Room
 Christen Select O Point Drill Grinder
 Deckel S1 Drill Grinder with pedestal bas
 P&W Tool & Cutter Grinder
 Cuttermaster Drill grinder
 Cuttermaster Drill grinder
 Optima Drill Grinder
 Optima Drill grinder
 Epilog Fiber Mark Laser 30W 24” x 12”, s/n 8030-1822042241FMR, New 2018


 Precision Thread Grinding, Turning & Whirling area

 Despatch RS-1 Electric Oven 460 deg F
 30” J&L Comparator, pwr stage & Quadra check DRO, New 1983
 Tschudin HTG-600 Univ Cylindrical Grinder, DRO, s/n 68297
 Haas VF-1 VMC, basic, s/n 1672315, New 2019
 Hemburg Mikroturn 100 CNC Precision Turning Center, Siemens ctrl, collet chuck,
 turret, chiller, granite base, s/n 014300270-PO, New 2013
 Drake GS: TI-LM 200 CNC ID Thread Grinder, Fanuc 0iMD, 5 Axis, 6 Jaw chuck,
 Coolant system, s/n 15677, New 2015
 Drake GS: TE-LM CNC OD Thread Grinder, Fanuc 0iMD, 4 Axis, SBS balancer,
 coolant, s/n ?, New 2009
 (2) SuperMics
 Drake GS: TE-LM CNC OD Thread Grinder, Fanuc 0iMD, 4 Axis, coolant unit s/n
 13578, New 2014

 Leistritz PW 160.1.2000 CNC Thread Whirling Lathe, Siemens ctrl, s/n 775 5137,
 New 2001

 Precision Lead tester
 Leistritz Kalimat C34 Tool Presetter, New 2000
 Super Mic




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 Machining Area


 Fadal VMC-4020HT 4 Axis VMC, New 1988
 10” or12” Matsumoto 4th axis table
 Fadal VMC-40 4 Axis VMC, New 1985
 6” Calmation Rotary Table
 Fadal VMC-40 4 Axis VMC, New 1986
 6” Fadal Rotary Table
 Haas VF-4 4-Axis VMC, probing, side mount ATC 40 pos, s/n 1123382,
 new 2015
 8” Haas rotary table
 Granite surface plate w/height gauges & height master
 Tree Vertical Mill, DRO, pwr feeds
 Bridgeport Series I Vertical Mill
 Tree 2UVR Vertical Mill, DRO pwr feed
 Deckel FP1 Universal Mill
 Deckel FP1 Universal Mill
 Weiler Matador Tool Room Lathe
 Kalamzoo Startrite 24V Vertical Band Saw
 Cress Oven
 Workbench with Delta DP & 3 bench grinders & arbor press
 Haas VF-1, basic, New 1997
 Haas Super Mini Mill, ATC, New 2008
 Fadal VMC-40 4 Axis VMC, MP CNC, Rebuilt 2012
 Unk Rotary table, 12” face plate
 Nakamore Tome TMC-15 CNC Lathe, Fanuc 0T, hyd bar feed
 Upgrade Technologies GT-27 CNC Gang Tool Lathe, Fagor ctrl, New ?
 Fixturing & Tooling for VMC, mills & lathes, shelves, 5 cabinets


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 Shop floor quality/inspection area


 14” Kodak Comparator, old, basic
 P&W Super Mic
 P&W Super Mic
 Scheer Tumico 30” Comparator, old DRO
 custom Granite surface plates/table approx. 3 x 15
 overall
 Sunnen Air Gauge
 Trimos Fowler V1000+ digital height Gage
 Mitutoyo Digital height gage, older
 Height Master
 Mitutoyo Precision Centers
 (2) Rockwell Hardness Testers, analog
 Cabinets w/various gages & fixtruing




 Outside "storage"
 4 Chamber Barrel Deburrer
 Vibratory Deburrer, round
 Power Kleen parts washer, rotary basket type
 Coolant filtration system wtih paper filter
 30 HP Atlas Copco GA22VSD Rotary Screw Air Compressor,
 New 2007
 Keltec Technolab Refrig. Air Dryer
 24 HP Atlas Copco GA18FF Rotary Screw Air Compressor,
 New 2008
 Stand Up Elect Forklift - poor condition
 Yale Fork Lift , LPG, poor condition


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 2nd Test Area
 Devin Pneumatic Arbor
 Press
 Milmetco Oven 500 deg F
 Custom Hyd Press
 Flo-Bac Part Washer
 Powered gear test stand
 Sundstrand Precision Centers table,
 steel


 Straightening Area
 Eitel RP-25 Hyd Straighteneing Press, prec centers ficture, New
 1988
 Eiterl RP-16 Hyd Straightening Press, prec centers fixture, New
 2001
 Sunnen hone with custom long part holding fixture
 Sunnen mnl stroke hone
 Sunnen Pwr Stroke Hone with auto size gauge
 custom chucker lathe/buffe w/6 jaw chuck
 (2) Bench chuckers with collet chucks
 (2) Servo Mini Drills
 Unk Oven
 Cantilever rack with bar stock
 Hardinge DV-59 lathe - no carraige
 Excello Center Lapper
 Amada HFA250W Auto Horiz Band Saw, New 2012
 Burr King Belt Sander


 Buffing & Deburring work areas
 (2) buffers on pedestals
 Omegasonics 5038 Ultrasonic CLeaner - single chamber, approx
 2x3

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 (3) Grinding, deburr & buffing sations with bench grinders
 Custom EBA Gear Deburrer with cover w/dust collector




 Bar Stock Storage Area
 Rusch Horizontal Band Saw -
 basic
 orage shelves andracks with multi bar tock lengths and
 diameters
 JG Burns Bar End Camfer/Finisher Machine


 Turning Area
 1" x 48" Technidrill GD 1.00-10-1A-PLc-48-DS/CR Dual Spindle Gun Drill,
 PLC control, s/n 7267-09/04, New 2004

 Pratt & Whitney 16" Model C Engine Lathe 16"x50" DRO
 Mori Seiki MS-1250G Gap Bed Engine Lathe, DRO
 Pratt & Whitney 16" Model C Engine Lathe 16"x50" DRO
 Pratt & Whitney 16" Model C Engine Lathe 16"x50" DRO
 DMG Mori DT-2050 CNC Lathe, Fanuc 0i-TD, Live tool? C axis? sub? s/n
 DT205131210,New 2013
 Haas TL-2 CNC Flat Bed Lathe, indxing turret, s/n 6982, new 2003
 Hardinge HC 2nd Op/Threading Chucker, s/n HC1873F
 Hardinge AHC Auto Threading Lathe, s/n HC6195T
 Hwacheon 18"x59"G Gap Bed Engine Lathe, DRO, New 1994
 (3) Carbide Grinders
 Snow custom tapper
 Pratt & Whitney Tool & Cutter Grinder
 Clausing Colchester 17C Engine Lathe w/belt grinding fixture, old
 (2) Long thin granite surface plates
 Nakamore Tome TMC-15 CNC Lathe, Fanuc, hyd sgl tube bar feed


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 Nakamore Tome TMC-15 CNC Lathe, Fanuc, CNC enhancements mag type bar
 feed
 14" J&L comparator, OLD
 Upgrade Technolgies GT-27 CNC Gang Tool Lathe, Fagor ctrl
 Mori Seiki SL-3H CNC Lathe, Yansac LX1 ctrl
 tooling, fixturing, cabinets and work bench thru out area


 Deburr room



 Comco Micro Abrasive blast cabinet
 Multi Barrel tumbler
 (2) Trinco Abrasive Blast Cabinets - shared media
 reclamation


 Surface Grinder Room
 Abrasive 1 1/2 Surface Grinder
 Auperabrasive 1218 surface grinder
 Abrasive 1 1/2 Surface Grinder
 Heald Horiz Spindle Rotary Surface
 grinder
 Abrasive 1 1/2 Surface Grinder
 tooling & fixtures


 Metrology Room
 14" Scheer Tumico Comparator, Quadra Chek 200 DRO

 Keyence IM-7030 Image Dimension Measuring Machine, s/n 5C910117, New
 approx 2019
 Mitutoyo RA-2200DX Roundness Measuring Instrument, s/n 500071211, New
 2012
 Mitutoyo QV ELF Optical CMM


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 Mitutoyo Crysta Apex 574 DCC CMM, PH10

 Mitutoyo CV-3200H4 Contour Measruing Machine, s/n 100181306, New 2013

 Trimos Fowler Digital Height Gauge

 Mitutoyo Surftest SJ-410

 Balance of height gauges, microscopes, cabinets, hand gauges, etc,




 Assembly & Efficiency Test Area



 EDM Area

 Agie Spirit 3 CNC Sinker EDM, 22" X, C axis, new 2006

 Agie Mondo Star 20 CNC sinker EDM, Futura IV ctrl, ATC, new approx
 2002
 AgieCharmilles Cut 20P Wire EDM, New 2013

 Agie Agiecut120 CNC Wire EDM, New 1995

 AgieCharmilles Cut 20P Wire EDM, New 2012

 AgieDrill EDM Drill, New 2006

 Agie Wire EDM - 1980's vintage

 big arbor press

 Upright MX 15 Scissor Lift

 Rolling Gantry Crane w/Yale chain fall

 Mori SL-3 CNC Lathe - old 2000 control

 Haas TM1 4-Axis VMC, ATC + rotab, new 2005

 Doosan Puma 2500LSY CNC Lathe, Fanuc 18iTB, live tool, Y axis, sub spdl,
 New 2006
 tooling & pick-up rhu out EDM area



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 Stock & storage area near restrooms
 Mezzanine storage area w/pool table & ping
 pong




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                                            PROOF OF SERVICE OF DOCUMENT
 1
             I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 2   333 S. Hope Street, 16th Flr., Los Angeles, CA 90071.

 3   A true and correct copy of the foregoing document entitled: DEBTOR’S MOTION TO SELL SUBSTANTIALLY
     ALL OF ITS TANGIBLE PERSONAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS AND
 4   INTERESTS; DECLARATIONS OF BRIAN D. KING AND MICHAEL FLYNN IN SUPPORT THEREOF will
     be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
 5   manner stated below:

 6      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
 7   document. On 6/16/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
     determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
     addresses stated below:
 8        Katherine Bunker kate.bunker@usdoj.gov
 9        Nathan E Delman              ndelman@hmblaw.com
          John-Patrick McGinnis Fritz (TR) jpftrustee@lnbyg.com, jpf@trustesolutions.net
10        Jeffrey M Goldman            goldmanj@pepperlaw.com, allenjs@pepperlaw.com
          Douglas Harris Douglas.harris@alston.com
11        Aaron Hammer ahammer@hmblaw.com
          Kay S Kress kay.kress@troutman.com, susan.henry@troutman.com
12        Leib M Lerner leib.lerner@alston.com, autodockettest-lax@alston.com;Melanie.mizrahie@alston.com
          Giovanni Orantes go@gobklaw.com, gorantes@orantes-law.com,
13            cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com
          Valerie Smith claims@recoverycorp.com
14        United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

15      2. SERVED BY UNITED STATES MAIL:
     On 6/16/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
     adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
16   postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
     be completed no later than 24 hours after the document is filed.
17                                                             Service information continued on attached page
18      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
19   6/16/2022, I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
     consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here
20   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24
     hours after the document is filed.
21
     Honorable Victoria S. Kaufman
22   United States Bankruptcy Court
     Central District of California
23   21041 Burbank Boulevard, Suite 354/Courtroom 301
     Woodland Hills, CA 91367
24   (Via Personal Delivery)

25      4. On 6/16/2022, I have provided all interested parties that have executed an NDA a copy of the foregoing
     document via the Data Room.
26
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
27
28   6/16/2022                 Melanie Mizrahie                                   /s/ Melanie Mizrahie
     Date                        Printed Name                                              Signature

                                                              22
                                                    DEBTOR’S SALE MOTION
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                                        SERVICE LIST

           5th Axis Inc                                Accurate Steel Treating
        7140 Engineer Road                               10008 Miller Way
       San Diego, CA 92111                             South Gate, CA 90280

       AgieCharmilles LLC                                Airgas USA, LLC
         560 Bond Street                                  Po Box 102289
      Lincolnshire, IL 60069                         Pasadena, CA 91189-2289

        Airhardware Inc.                        All Metal Processing Of Orange Coun
         Dept. La 23089                                    Po Box 102539
    Pasadena, CA 91185-3089                          Pasadena, CA 91189-2539

      Alliance Thread Rolling                                 Allianz
     100 East Prospect Avenue                   One Progress Point Parkway, Suite 2
       Burbank, CA 91502                               O Fallon, MO 63368

   Alpine Bearing Company, Inc.                           Anthony Schrillo
        298 Lincoln Street                             1785 Voyager Avenue
     Allston, MA 02134-0003                            Simi Valley, CA 93063

                                                              Aselsan
           Aqui Larry
                                                       296 Cadde No: 16 06200
      7918 Bellingham Ave
                                                            Yenimahalle
   North Hollywood, CA 91605
                                                           Ankara, Turkey

              AT&T                                  B-G Detection Service, Inc.
           PO Box 6463                                 9235 Glenoaks Blvd.
   Carol Stream, IL 60197-2009                        Sun Valley, CA 91352

       Barry Ave Plating Co.                            BCS Insurance Co
        2210 Barry Avenue                         2 Mid America Plaza, Suite 200
      Los Angeles, CA 90064                            Villa Park, IL 60181

   Blackhawk Industrial Dist, Inc
                                                            Blue Origin
           Dept #41923
                                                          21218 76th Street
          Po Box 650823
                                                          Kent, WA 98032
      Dallas, TX 75265-0823

        Bodycote - Vernon                          Bodycote Thermal Processing
           Dept. 9692                                    Po Box 201745
   Los Angeles, CA 90084-9692                        Dallas, TX 75320-1745

       Boeing Distribution                          Bosch Rexroth Corporation
          Po Box 842267                             5150 Prairie Stone Parkway
      Dallas, TX 75284-2267                       Hoffman Estates, IL 60192-3707

         Boston Centerless                           Brian D. King CPA, INC.
        11 Presidential Way                          12309 Mclennan Avenue
        Woburn, MA 01801                             Granada Hills, CA 91344
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         Business Card                                    Cal-Labs
         Po Box 15796                               14747 Artesia Blvd #4g
   Wilmington, DE 19886-5796                         La Mirada, CA 90638

         Cartagena Alan                                 Cartagena Elmer
       12250 Peoria Street                        2038 Avenida Refugio Apt #1
      Sun Valley, CA 91352                           Simi Valley, CA 93063

      CEF Industries, LLC                                  Cerpa Ernie
      320 S. Church Street                             7549 Freestone Ln
       Addison, IL 60101                              Littlerock, CA 93543

           Cerpa Steve                                     CGI Inc
         16052 Acre St                              3400 Arrowhead Drive
      North Hills, CA 91343                         Carson City, NV 89706

          Chapetta Irene                              Christensen William
       11736 Brussels Ave                             29026 St Tropez Pl
        Sylmar, CA 91342                              Castaic, CA 91384

              Chubb                                   City of Los Angeles
          PO Box 382001                                Office Of Finance
    Pittsburgh, PA 15250-8001                            Po Box 51112
                                                  Los Angeles, CA 90051-5412

       City of Los Angeles                            City of LOs Angeles
          False Alarms                              Public Works/Sanitation
          Po Box 30879                                    Po Box 3074
   Los Angeles, CA 90030-0879                     Los Angeles, CA 90030-0749

                                                       Collins Aerospace
    Clarke Engineering, Inc.
                                                   Simonds Precision Products
     8058 Lankershim Blvd.
                                                       100 Panton Road
   North Hollywood, CA 91605
                                                   Vergennes, VT 05491-1008

     Contract Manufacturing                         Cook Induction Heating
    571 Searls Avenue Suite D                            PO Box 430
     Nevada City, CA 95959                           Maywood, CA 90270

                                                     CSM H&W Trust Fund
         CPI Solutions
                                                  Risk Program Administration
    5999 Ridgeview St Unit A
                                                      333 E Osborn Road.
      Camarillo, CA 93012
                                                       Phoenix, AZ 85012

      Culligan Of Sylmar                               Curtiss-Wright
          Po Box 2903                               18400 West 77th Street
     Wichita, KS 67201-2903                         Chanhassen, MN 55317

     Cutter Inovations LLC                           D & K Industries, Inc.
     5000 Robb St Bldg 2/B                            10135 Canoga Ave
     Wheat Ridge, CO 80033                           Chatsworth, CA 91311
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           Danobat Inc                               De La Cruz Carias Marvin
       1914 S. Houston Ave.                           7055 Lennox Ave #361
        Humble, TX 77396                               Van Nuys, CA 91405

   De Lage Landen Financial Svcs                De Lange Landen Financial Services
           Po Box 41602                                   Po Box 41602
    Philadelphia, PA 19101-1602                    Philadelphia, PA 19101-1602

  DGI Supply - A DoAll Company                             Diaz Gerardo
         1480 S Wolf Rd                               8024 Woodman Ave #7
       Wheeling, IL 60090                            Panorama City, CA 91402

              Dmark                                         Doimak S.A.
         10552 Humbolt St                              Pol Ind San Lorenzo 4
      Los Alamitos, CA 90720                           20870 Elgoibar Spain

    DRAKE Manufacturing LLC                     DRS Network & Imaging System LLC
       4371 N Leavitt Rd                            100 North Babcock Street
       Warren, OH 44485                               Melbourne, FL 32935

       Eaton Aerospace LLC                          ECi Software Solutions, Inc.
      3675 Patterson Ave S.E.                             Po Box 200164
      Grand Rapids, MI 49512                        Pittsburgh, PA 15251-0164

                                                    Elcan Optical Technologies
         Eisenreich Greg
                                                A Division of Raytheon Canada Limi
         4207 Carlotta St
                                                           450 Leitz Rd
      Simi Valley, CA 93063
                                                   Midland ON L4R 5B8 Canada

         Electrolurgy, Inc.                           Embee Processing, LLC
       1121 Duryea Avenue                                 Po Box 102540
         Irvine, CA 92614                            Pasadena, CA 91189-2540

Employment Development Department
                                                      Enviro-Tech Industries
    Bankruptcy Group MIC 92E
                                                      415 N Maple Grove Rd
          PO Box 826880
                                                         Boise, ID 83704
    Sacramento, CA 94280-0001

        Escacenas Camilo                              First Choice Services
      10050 Woodley Avenue                             18840 Parthenia St
       North Hills, CA 91343                          Northridge, CA 91324

           First Insurance                              FLores Armando
            PO Box 7000                               1416 N Buena Vista St
    Carol Stream, IL 60197-7000                        Burbank, CA 91505

       Franchise Tax Board
                                                          Fry Steel Co
   Bankruptcy Section, MS A340
                                                         Po Box 841483
          PO Box 2952
                                                   Los Angeles, CA 90084-1483
   Sacramento, CA 95812-2952
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              Futek                                   G&B Air Conditioning
         Po Box 844891                                  14641 1/2 Titus St
   Los Angeles, CA 90084-4891                     Panorama City, CA 91402-4922

      Galan Straightening Co                            Gallagher Insurance
        7318 Deering Ave                            21820 Burbank Blvd No 175
      Canoga Park, CA 91303                          Woodland Hills, CA 91367

            Galvez Jose                         General Atomics Aeronautical System
        13933 Terra Bella St                          14115 Stowe Dr. Poway
        Pacoima, CA 91331                                Poway, CA 92064

     Geraldine Louise Nowlen                              Global Services
       17346 Hasted Street                             20701 Plummer Street
      Northridge, CA 91325                             Chatsworth, CA 91311

      GM Financial Leasing                                 Golden Bear
         Po Box 78143                                   1550 W Fremont St
     Phoenix, AZ 85062-8143                             Stockton, CA 95203

            Gomez Tony                            Goodrich Actuation Systems Ltd
           38041 Lido Dr                                 100 Panton Road
        Palmdale, CA 93552                            Vergennes, VT 05491

                                                       Goodrich Corporation
  Goodrich Actuation Systems SAS
                                                        Collins Aerospace
          106 Rue Fourny
                                                         100 Panton Road
        78530 BUC France
                                                       Vergennes, VT 05491

          Guzman Pedro                                      Hardinge Inc
       311 S Witmer St #106                                Po Box 392768
      Los Angeles, CA 90017                          Pittsburgh, PA 15251-9754

         Harris Alexander                                     Hartford
       1231 Larkspur Street                              PO Box 660916
      Simi Valley, CA 93063                           Dallas, TX 75266-0916

             Hermle                                  Hixson Metal Finishing
     5100 West Franklin Drive                         829 Production Place
        Franklin, WI 53131                        Newport Beach, CA 92663-2809

    Home Depot Credit Services                          Honeybee Robotics
      Dept32 - 2007563699                              1830 Lefthand Circle
         Po Box 9001030                                Longmont, CO 80501
    Louisville, KY 40290-1030

    Honeywell International, Inc.                      HR Textron Prorietary
    1300 W. Warner Rd. Tempe                         25200 W Rye Cayon Road
        Tempe, AZ 85284                                 Valencia, CA 91355
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  Infinity Machine Tools Sales Inc.                  Ingenium Aerospace LLC
      5580 E La Palma Avenue                          5389 International Drive
         Anaheim, CA 92807                              Rockford, IL 61109

   Internal Revenue Service (IRS)                 Israel Aerospace Industries (IAI)
            PO Box 7346                              13873 Park Center Rd 400N
    Philadelphia, PA 19101-7346                          Herndon, VA 20171

 Johnson Controls Fire Protection Lp                     Johnson Michael
          Dept Ch 10320                                  26011 Cayman Pl
      Palatine, IL 60055-0320                         Santa Clarita, CA 91350

     Kinetic Arts & Technology                              King Bruce
        9540 Highway 150                                4026 Madison Street
     Greenville, IN 47124-1000                          Ventura, CA 93003

            King Jason                                 Kitch Engineering Inc.
      10650 Sherman Grove #9                            12320 Montague St.
        Sunland, CA 91040                               Pacoima, CA 91331

           Kitco Defense                                   Kollmorgen
       1625 North 1100 West                             201 West Rock Rd
       Springville, UT 84663                            Radford, VA 24141

         Kovatch Castings                            L&S Compressed Air Inc.
         3743 Tabs Drive                              4233 N. Shadydale Ave.
       Uniontown, OH 44685                              Covina, CA 91722

            LADWP                                      Landsberg La Valley
          PO Box 51111                                    Po Box 101144
      Los Angeles, CA 90051                          Pasadena, CA 91189-1144

         Langenkamp Luke                                    Lara Martha
     4160 Lockland Place Apt D                            37023 32nd St E
      Los Angeles, CA 90008                             Palmdale, CA 93550

       Leaf Capital Funding                      Leistritz Advanced Technologies C
            Po Box 5066                                     Po Box 101144
      Hartford, CT 06102-5066                        Pasadena, CA 91189-1144

  Lightlaw, Inc., A Professional Co
                                                         Lomeli Enrique
         Dba Light Gabler
                                                        8412 Hillview Ave
        760 Paseo Camarillo
                                                      Canoga Park, CA 91304
        Camarillo, CA 93010

 Los Angeles County Tax Collector                       Maldonado Victor
         PO Box 54110                                    822 Erringer Rd
   Los Angeles, CA 90054-0110                         Simi Valley, CA 93065

         MAR Engineering                               Marotta Controls, Inc.
     7350 Greenbush Avenue                             78 Boonton Avenue
    North Hollywood, CA 91605                          Montville, NJ 07045
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         Matsushita Paul                              McMaster-Carr Supply
       1036 N Workman St                                   Po Box 7690
     San Fernando, CA 91340                           Chicago, IL 60680-7690

     Meggitt Control Systems                         Meridian Systems Supply
      1785 Voyager Avenue                           2366 N. Glassell Ave., Ste B
     Simi Valley, CA 93063                              Orange, CA 92865

      Metals Technology, Inc.                          Method Machine Tools
      19801 Nordhoff Street                              65 Union Avenue
      Northridge, CA 91324                            Sudbury, MA 01776-0003

        Microtecnica SRL
                                                       Midwest Thermal Vac
        Collins Aerospace
                                                         5727 95th Ave.
      Piazza Arturo Graf 147
                                                        Kenosha, WI 53144
        10126 Torino Italy

           Mistequay                                   Mistequay Group, LTD
      1156 N. Niagara Street                           1156 N. Niagara Street
       Saginaw, MI 48602                                Saginaw, MI 48602

            Mitee Bite                                    Monce Roberto
          340 Route 16B                                27364 Riverside Lane
     Center Ossipee, NH 03814                           Valencia, CA 91354

             Moog Inc                                MSC Industrial Supply Co.
      2268 South 3270 West                                 Po Box 953635
     Salt Lake City, UT 84119                       Saint Louis, MO 63195-3635

           Multichrome                                     Murillo Jose
     1013 West Hillcrest Blvd                           38562 Yucca Tree St
      Inglewood, CA 90301                               Palmdale, CA 93551

          Murillo Manuel                                  Murillo, Daniel
       13961 Olive Grove Ln                          8940 Topanga Cyn Bl #203
         Sylmar, CA 91342                             Canoga Park, CA 91304

        Nammo Talley Inc                                   Navarro Jose
        4051 N Higley Rd                                 7505 Wilbur Ave
         Mesa, AZ 85215                                  Reseda, CA 91335

     Nelson Engineering, Inc.                   Northrup Grumman Innovation Systems
      11600 Monarch Street                                3643 Doolittle Dr
     Garden Grove, CA 92841                           Redondo Beach, CA 90278

          Novatronics, Inc.
                                                           Nowlen Jeri
 Wright Controls Integrated Sensing
                                                         17346 Halsted St
           677 Erie Street
                                                       Northridge, CA 91325
 Stratford Ontario N5A6V6 Canada
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              NTMA                                     Oerlikon Balzers Usa, Inc.
       1357 Rockside Road                                27228 Network Place
       Cleveland, OH 44134                              Chicago, IL 60673-1272

                                                 Orbital ATK Missile Systems Group
 Ontic Engineering & Manufacturing
                                                 Alliant Techsystems Operations LLC
        20400 Plummer Street
                                                           55 Thiokol Road
       Chatsworth, CA 91311
                                                          Elkton, MD 21921

         Orozco Geovanni                                   Pacific Magnetic
    6742 Clybourn Ave., Apt 128                           6837 Farmdale Ave
    North Hollywood, CA 91606                      North Hollywood, CA 91605-6292

    Parker Hannifin Corporation
                                                   Patriot Environmental Services Inc
     Control Systems Division
                                                              Po Box 1091
   2010 Waldrep Industrial Blvd.
                                                     Long Beach, CA 90801-1091
        Dublin, GA 31021

             Paylocity                                       Peter Jozsef
        1400 American Lane                              7742 Garden Grove Ave
       Schaumburg, IL 60173                               Reseda, CA 91335

           Phillips 66 Co                         Pitney Bowes Global Fianancial Serv
          Po Box 530970                                      Po Box 371887
      Atlanta, GA 30353-0970                           Pittsburgh, PA 15250-7887

                                                       PM Industrial Supply Co.
        Planit Solutions, Inc.
                                                           9613 Canoga Ave
       3800 Palisades Drive
                                                      Chatsworth, CA 91311-4197
       Tuscaloosa, AL 35405
       Ponam Precision Gages                              Productive Concepts
         439 W Acacia Ave                                50825 Grand Traverse
        Glendale, CA 91204                               La Quinta, CA 92253

  Progressive Alloy Steels Unlimite                    Prudential Overall Supply
            Po Box 8266                                     Po Box 11210
     Pasadena, CA 91109-8266                          Santa Ana, CA 92711-1210

     Quality Heat Treating, Inc                  Raytheon ELCAN Optical Technologies
       3305 Burton Avenue                                  870 Winter Street
       Burbank, CA 91504                                 Waltham, MA 02451

     Raytheon Missile Systems                         Raytheon Space & Airborne
       1151 E. Hermans Rd.                                1100 Wilson Blvd
        Tucson, AZ 85756                                 Arlington, VA 22209

         Rivera Monica                                     Roberto Jaime
        28046 Ermine Pl                                 6219 Reseda Blvd #31
    Canyon Country, CA 91351                              Reseda, CA 91335
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       Rockwell Collins, Inc.                           Rodriguez Francisco
       400 Collins Road NE                             40116 Villa Moura Dr
      Cedar Rapids, IA 52498                            Palmdale, CA 93551

     Roy & Val Tool Grinding                          S&B Thread Rolling Inc
       10131 Canoga Ave                                   600 Arroyo Ave
      Chatsworth, CA 91311                            San Fernando, CA 91340

             SAI Global                                    Salvino Randy
            789 Erie Street                           9950 Zelzah Ave Apt 203
Stratford, Ontario, N4Z 1A1, Canada                    Northridge, CA 91325

       Schrillo Realty, Inc.                                  Scicon
     16750 Schoenborn Street                         27525 Newhall Ranch Road
      North Hills, CA 91343                             Valencia, CA 91355

      Scientific Cutting Tools                               Scottsdale
    220 W Los Angeles Avenue                        8877 North Gainey Center Dr
      Simi Valley, CA 93065                            Scottsdale, AZ 85258

           Shah Imran                               Shape-Master Tool Company
      6524 Wilbur Ave #104                                801 W Main St
        Reseda, CA 91335                                Kirkland, IL 60146

        Sierra Nevada Corp                             Skurka Aerospace, Inc.
        444 Salomon Circle                               4600 Calle Bolero
      Sparks, NV 89434-9651                             Camarillo, CA 93012

                                                              SoCal Gas
    So Cal Office Technologies
                                                     Centralized Correspondence
       5700 Warland Drive
                                                            PO Box 1626
       Cypress, CA 90630
                                                      Monterey Park, CA 91754

             Sparkletts                                Staple Business Credit
          Po Box 660579                                   Po Box 105638
      Dallas, TX 75266-0579                           Atlanta, GA 30348-5638

         Stark Aerospace                                STD Precision Gear
  319 Charleigh D. Ford, Jr. Drive                       318 Manley Street
       Columbus, MS 39701                           West Bridgewater, MA 02379

      Sullivan Steel Services                                Sumitomo
      85 NJ-31, Pennington                          1001 E. Business Center Drive
      Pennington, NJ 08534                            Mount Prospect, IL 60056

   Technical Associated Services                        Thomson Abek LLC
        7832 Franklin Dr.                                 492 Birch Street
   Huntington Beach, CA 92648                            Bristol, CT 06010

         Thomson Linear                               Titanium Industries, Inc.
        1300 N State Street                               Po Box 854113
        Marengo, IL 60152                           Minneapolis, MN 55485-4113
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      TPX Communications                                 Trelleborg Inc.
         Po Box 509013                          200 N. Sepulveda Blvd Suite 1605
    San Diego, CA 92150-9013                         El Segundo, CA 90245

  Triumph Actuation and Motion                  Triumph Aerospace Systems Seattle
   Control System, UK Limited                       Non-Disclosure Agreement
     22922 NE Alder Crest Dr                         22922 NE Alder Crest Dr
      Redmond, WA 98053                               Redmond, WA 98053

      Triumph Gear Systems                              Triumph Group
     22922 NE Alder Crest Dr                        22922 NE Alder Crest Dr
      Redmond, WA 98053                              Redmond, WA 98053

         Triumph Valencia                             United Parcel Service
       28150 Harrison Pkwy                             28013 Network Pl
        Valencia, CA 91355                           Chicago, IL 60673-1280

                                               US Securities Exchange Commission
  Up & Running CNC Consulting
                                                    Attn Bankruptcy Counsel
      1212 W Ash Avenue
                                                  444 S Flower Street Suite 900
      Fullerton, CA 92833
                                                  Los Angeles, CA 90071-9591

           Vaca Mario                                   Valdivieso Willy
       14532 Birchwood Ct                             6321 Cartwright Ave
        Sylmar, CA 91342                           North Hollywood, CA 91606

     Vanderhorst Brothers Inc.                          Velazquez Carlos
      1715 Surveyor Avenue                            8414 Orion Ave #201
      Simi Valley, CA 93063                           North Hills, CA 91343

      Vescio Manufacturing                                 Walter
       14002 Anson Avenue                     N22 W23977 Ridgeview Parkway West
    Santa Fe Springs, CA 90670                      Waukesha, WI 53188

                                                          Hembrug BV
   Whippany Actuation Systems
                                                        H Figeeweg 1 a+b
    110 Algonquin Parkway
                                                        2031 BJ Haarlem
      Whippany, NJ 07981
                                                         The Netherlands

        Kenbil Engineering                                Q-Plus Labs
          2900 Adams St                            13765 Alton PKWY Unit E
       Riverside, CA. 92504                            Irvine, CA. 92618

Advance Business Innovations (ABI)               Agie Charmilles/GF Machining
     6900 Owensmouth Ave.                         62129 Collections Center Dr.
       Canoga, CA. 91303                            Chicago, IL 60693-0621

                                                    Bodycote Huntington Park
         All Safe Electric
                                                      3370 Benedict Way
        7057 Canoga Ave
                                                   Huntington Park, CA. 90255
     Canoga Park, CA. 91303
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        Earle M. Jorgensen                             Pacific Forge
         P.O. Box 846027                           10641 Etiwanda Ave.
   Los Angeles, CA. 90084-6027                      Fontana, CA. 92337

     Pacific Metal Stamping                             PTC Inc.
   28415 Witherspoon Parkway                        121 Seaport Blvd.
      Valencia, CA. 91355                           Boston, MA 02210

       World Wide Hone
    12990 Branford St. Unit K
      Pacoima, CA. 91331
